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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

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In re:                                                       :
                                                             :       Chapter 11
                                                             :
Insys Therapeutics, Inc., et al.                             :       Case No. 19-11292 (KG)
                                                             :
                  Debtors.1                                  :       (Jointly Administered)
                                                             :
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     GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
      AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS
        AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

On June 10, 2019 (the “Petition Date”), Insys Therapeutics, Inc. (“Insys Therapeutics”) and its
affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in possession
(collectively, the “Debtors”) each commenced a voluntary case under chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”). The Debtors are authorized to operate their
business and manage their properties as debtors in possession pursuant to sections 1107(a) and
1108 of the Bankruptcy Code. No request for the appointment of a trustee or examiner has been
made in these chapter 11 cases. The Debtors’ chapter 11 cases are being jointly administered for
procedural purposes only under case number 19-11292 (KG) pursuant to Rule 1015(b) of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                   OVERVIEW OF GLOBAL NOTES

Each of the Debtors has herewith filed separate Schedules of Assets and Liabilities (“Schedules”)
and Statements of Financial Affairs (“Statements”). These Global Notes and Statement of
Limitations, Methodology, and Disclaimers Regarding Debtors’ Schedules and Statements
(the “Global Notes”) pertain to, and are incorporated by reference in, each Debtor’s Schedules
and Statements and set forth the basis upon which the Schedules and Statements are presented.
These Global Notes comprise an integral part of the Schedules and Statements and should
be referred to and considered in connection with any review of the Schedules and Statements.
The Global Notes are in addition to any specific notes contained in any Debtor’s Schedules or
Statements. Information in the Schedules and Statements is presented as of the Petition Date and
on an individual Debtor-by-Debtor basis, in each case unless otherwise noted. Disclosure of
information in one Schedule, Statement, exhibit, or continuation sheet, even if incorrectly placed,


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Insys Therapeutics, Inc. (7886); IC Operations, LLC (9659); IPSC, LLC (6577); Insys
Development Company, Inc. (3020); Insys Manufacturing, LLC (0789); IPT 355, LLC (0155); and Insys Pharma, Inc.
(9410). The Debtors’ mailing address is 410 S. Benson Lane; Chandler, AZ 85224.
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shall be deemed to be disclosed in the correct Schedule, Statement, exhibit, or continuation sheet.

The Schedules, Statements, and Global Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of any
of the Debtors.

The Schedules and Statements have been prepared pursuant to section 521 of the Bankruptcy Code
and Bankruptcy Rule 1007 by the Debtors’ management with the assistance of their advisors and
other professionals and have necessarily relied upon the efforts, statements, advice, and
representations of personnel of the Debtors and the Debtors’ advisors and other professionals.
Although management has made reasonable efforts to ensure that the Schedules and Statements
are accurate and complete based upon information that was available to it at the time of
preparation, subsequent information or discovery thereof may result in material changes to the
Schedules and Statements, and inadvertent errors or omissions may exist. Moreover, the
Schedules and Statements contain unaudited information, which is subject to further review and
potential adjustment.

The Schedules and Statements for each Debtor have been signed by Andrew Long, Chief
Executive Officer. In reviewing and signing the Schedules and Statements, Mr. Long necessarily
relied upon the efforts, statements, and representations of the Debtors’ advisors other personnel
and professionals. Mr. Long has not (and could not have) personally verified the accuracy of each
such statement and representation, including, for example, statements and representations
concerning amounts owed to creditors, classification of such amounts, and their addresses.


               GLOBAL NOTES AND OVERVIEW OF METHODOLOGY

1.   General Reservation of Rights. Although the Debtors’ management has made every
     reasonable effort to ensure that the Schedules and Statements are as accurate and complete
     as possible under the circumstances based on information that was available to it at the time
     of preparation, subsequent information or discovery may result in material changes to the
     Schedules and Statements, and inadvertent errors or omissions may have occurred, some of
     which may be material. Because the Schedules and Statements contain unaudited
     information, which remains subject to further review, verification, and potential adjustment,
     there can be no assurance that the Schedules and Statements are complete. The Debtors
     reserve all rights to amend the Schedules and Statements from time to time, in any and all
     respects, as may be necessary or appropriate, including the right to dispute or otherwise assert
     offsets or defenses to any claim reflected in the Schedules and Statements as to amount,
     liability, or classification, or to otherwise subsequently designate any claim as “disputed,”
     “contingent,” or “unliquidated.” Furthermore, nothing contained in the Schedules and
     Statements shall constitute an admission of any claims or a waiver of any of the Debtors’
     rights with respect to these chapter 11 cases, including issues involving substantive
     consolidation, recharacterization, equitable subordination, and/or causes of action arising
     under the provisions of chapter 5 of the Bankruptcy Code and other relevant non-bankruptcy
     laws to recover assets or avoid transfers. Any specific reservation of rights contained
     elsewhere in the Global Notes does not limit in any respect the general reservation of rights
     contained in this paragraph.


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2.   Description of Cases and “As Of” Information Date. Unless otherwise stated herein,
     liabilities are reported as of the Petition Date.

3.   Basis of Presentation. For financial reporting purposes, the Debtors generally prepare
     consolidated financial statements. Where practicable, the Schedules and Statements reflect
     the assets and liabilities of each separate Debtor. Because the Debtors’ accounting systems,
     policies, and practices were developed for consolidated reporting purposes, rather than by
     individual legal entity, it is possible that not all assets, liabilities or amounts of cash
     disbursements have been recorded with the correct legal entity on the Schedules and
     Statements. The Debtors reserve all rights relating to the legal ownership of assets and
     liabilities among the Debtors, and nothing in the Schedules or Statements shall constitute a
     waiver or relinquishment of such rights. Information contained in the Schedules and
     Statements has been derived from the Debtors’ books and records. The Schedules and
     Statements do not purport to represent financial statements prepared in accordance with
     Generally Accepted Accounting Principles in the United States nor are they intended to be
     fully reconciled to audited financial statements of each Debtor.

4.   Totals. All totals that are included in the Schedules and Statements represent totals of all
     known amounts included in the Debtors’ books and records. To the extent there are unknown
     or undetermined amounts, the actual total may be different than the listed total, and the
     difference may be material. In addition, the amounts shown for total liabilities exclude items
     identified as “unknown,” “disputed,” “contingent,” “unliquidated,” or “undetermined,” and,
     thus, ultimate liabilities may differ materially from those stated in the Schedules and
     Statements. To the extent a Debtor is a guarantor of debt held by another Debtor, the amounts
     reflected in the Schedules are inclusive of each Debtor’s guarantor obligations.

5.   Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets,
     and liabilities from the Schedules and Statements, including goodwill, intangibles, and
     certain accrued liabilities including, but not limited to, certain accrued employee
     compensation and benefits, certain customer accruals, tax accruals, accrued accounts
     payable, accrued contract termination damages, deferred income accruals, litigation accruals,
     and certain deposits. The Debtors have also excluded potential claims arising on account of
     the potential rejection of executory contracts and unexpired leases, to the extent such claims
     exist. Certain immaterial assets and liabilities that are not reported or tracked centrally may
     have been excluded.

6.   Amendments and Supplements; All Rights Reserved. The Debtors reserve all rights, but
     are not required, to amend and/or supplement the Schedules and Statements from time to
     time as is necessary and appropriate.

7.   References. Reference to applicable agreements and related documents is necessary for a
     complete description of the nature, extent, and priority of liens and/or claims. Nothing in the
     Global Notes or the Schedules and Statements shall be deemed a modification or
     interpretation of the terms of such agreements.

8.   Currency. All amounts are reflected in U.S. dollars.




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9.    Intercompany. The Debtors have reported for each Debtor the aggregate net intercompany
      balances between such Debtors and each other Debtor as assets on Schedule A/B or as
      liabilities on Schedule E/F, as appropriate, and as of May 31, 2019. The listing in the
      Schedules or Statements (including, without limitation, Schedule A/B or Schedule E/F) by
      the Debtors of any obligation between a Debtor and another Debtor is a statement of what
      appears in the Debtors’ books and records and does not reflect any admission or conclusion
      of the Debtors regarding whether such amount would be allowed as a Claim or how such
      obligations may be classified and/or characterized in a plan of reorganization or otherwise
      by the Bankruptcy Court. The Debtors reserve all rights with respect to such obligations.

10.   Book Value. Unless otherwise indicated, the Debtors’ assets are shown on the basis of their
      net book values as of May 31, 2019, and the Debtors’ liabilities are shown on the basis of
      their net book values as of the Petition Date. Thus, unless otherwise noted, the Schedules
      and Statements reflect the carrying value of the assets and liabilities as recorded on the
      Debtors’ books. Net book values may vary, sometimes materially, from market values. The
      Debtors do not intend to amend these Schedules and Statements to reflect market values.

11.   Paid Claims. The Bankruptcy Court has authorized the Debtors to pay certain outstanding
      prepetition claims—including, but not limited to, payments to employees, independent
      contractors, customers, and certain vendors—pursuant to various “first day” orders entered
      by the Bankruptcy Court (the “First Day Orders”). Accordingly, certain outstanding
      liabilities may have been reduced by post-petition payments made on account of prepetition
      liabilities. Where the Schedules list creditors and set forth the Debtors’ scheduled amount
      of such claims, such scheduled amounts reflect amounts owed as of the Petition Date adjusted
      for any post-petition payments made pursuant to the authority granted to the Debtors by the
      Bankruptcy Court. To the extent the Debtors pay any of the claims listed in the Schedules
      and Statements pursuant to any First Day Order, the Debtors reserve all rights to amend or
      supplement the Schedules and Statements or take other action, such as filing claims
      objections, as is necessary and appropriate to avoid overpayment or duplicate payments for
      liabilities. The Debtors will provide any creditor listed on these Schedules and Statements
      with notice of the bar date, regardless of whether the Debtors have subsequently paid such
      creditor’s claim. The Debtors have not listed any claims for Employee Obligations (as
      defined in the Wages Motion)2, Critical Vendors (as defined in the Critical Vendor Motion)3,
      and Customer Obligations (as defined in the Customer Programs Motion)4 that have since
      had their prepetition claims satisfied in full pursuant to the First Day Orders.


2See the Motion of the Debtors Pursuant to 11 U.S.C. §§ 105(a), 363 and 507(a) for (I) Authority to (A) Pay Certain
Prepetition Wages and Reimbursable Employee Expenses (B) Pay and Honor Employee Medical and Other Benefits,
and (C) Continue Employee Benefits Programs and (II) Related Relief [ECF No. 5] (the “Wages Motion”).
3 See the Motion of Debtors for Entry of an Order (I) Authorizing Payment of Certain Prepetition Claims of Critical
Vendors (II) Confirming Administrative Expense Priority of Undisputed and Outstanding Prepetition Orders, and
(III) Granting Related Relief [ECF No. 8] (the “Critical Vendor Motion”).
4See the Motion of the Debtors Pursuant to 11 U.S.C. §§ 105(a) and 363(b) for Authority to (I) Maintain and
Administer Prepetition Customer Programs, Promotions, and Practices, and (II) Pay and Honor Related Prepetition
Obligations, [ECF No. 9] (the “Customer Programs Motion”).



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12.   Recharacterization. Notwithstanding that the Debtors have made reasonable efforts to
      correctly characterize, classify, categorize, or designate certain claims, assets, executory
      contracts, unexpired leases, and other items reported in the Schedules and Statements, certain
      items may have been improperly characterized, classified, categorized, or designated. The
      Debtors are continuing to review all relevant documents and expressly reserve all rights to
      amend, recharacterize, reclassify, recategorize, or redesignate items reported in the
      Schedules and Statements at a later time as they determine to be necessary and appropriate.

13.   Claims of Third-Party Entities. Although the Debtors have made reasonable efforts to
      classify properly each Claim listed in the Schedules as being either disputed or undisputed,
      liquidated or unliquidated, and/or contingent or non-contingent, the Debtors have not been
      able to fully reconcile all payments made to certain third-party entities on account of the
      Debtors’ obligations to both such entity and its affiliates, and are continuing to review all
      relevant documents. Therefore, to the extent that the Debtors have classified their estimate
      of claims of a creditor as disputed, for example, all claims of such creditor’s affiliates listed
      in the Schedules and Statements shall similarly be considered disputed, whether or not they
      are individually designated as such.

14.   Liabilities. The Debtors have allocated liabilities between the prepetition and post-petition
      periods based on the information and research conducted in connection with the preparation
      of the Schedules and Statements. As additional information becomes available, and further
      research is conducted, particularly with respect to the Debtors’ accounts payable, the
      allocation of liabilities between the prepetition and post-petition periods may change. The
      Debtors reserve the right to, but are not required to, amend the Schedules and Statements as
      they deem appropriate to reflect this.

      The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
      under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all rights
      to dispute or challenge the validity of any asserted claims under section 503(b)(9) of the
      Bankruptcy Code or the characterization of the structure of any such transaction or any
      document or instrument related to any creditor’s claim.

15.   Guarantees and Other Secondary Liability Claims. The Debtors have not identified or
      scheduled any known guarantees or other secondary liability claims. It is possible that certain
      guarantees embedded in the Debtors’ executory contracts, unexpired leases, secured
      financings, debt instruments, and other such agreements may have been inadvertently
      omitted. The Debtors reserve their rights to amend the Schedules to the extent that
      guarantees are identified.

16.   Intellectual Property Rights. Exclusion of certain intellectual property shall not be
      construed to be an admission that such intellectual property rights have been abandoned,
      have been terminated or otherwise expired by their terms, or have been assigned or otherwise
      transferred pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of
      certain intellectual property shall not be construed to be an admission that such intellectual
      property rights have not been abandoned, have not been terminated or otherwise expired by
      their terms, or have not been assigned or otherwise transferred pursuant to a sale, acquisition,
      or other transaction. The Debtors have made significant efforts to attribute intellectual


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      property to the rightful Debtor owner; however, in some instances intellectual property
      owned by one Debtor may, in fact, be owned by another. Accordingly, the Debtors reserve
      all rights with respect to the legal status and proper attribution of any and all such intellectual
      property rights.

17.   Executory Contracts and Unexpired Leases. The Debtors have not set forth executory
      contracts or unexpired leases as assets in the Schedules and Statements. The Debtors’
      executory contracts and unexpired leases have been set forth in Schedule G. In addition,
      while the Debtors have made diligent attempts to properly identify all executory contracts
      and unexpired leases, inadvertent errors, omissions, or over-inclusion may have occurred.

18.   Claims Description. Schedules D and E/F permit each of the Debtors to designate a Claim
      as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
      given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
      does not constitute an admission by the Debtor that such amount is not “disputed,”
      “contingent,” or “unliquidated” or that such Claim is not subject to objection. The Debtors
      reserve all rights to dispute any Claim reflected on their respective Schedules and Statements
      on any grounds, including, without limitation, liability or classification, or to otherwise
      subsequently designate such claims as “disputed,” “contingent,” or “unliquidated.” In
      addition, the Debtors reserve their rights to object to any listed Claim on the grounds that,
      among other things, the Claim has already been satisfied.

19.   Causes of Action. Despite their reasonable efforts, the Debtors may not have listed all of
      their causes of action or potential causes of action against third parties as assets in their
      Schedules and Statements, including, without limitation, affirmative claims, avoidance
      actions arising under chapter 5 of the Bankruptcy Code and actions under other relevant non-
      bankruptcy laws to recover assets. The Debtors reserve all rights to any claims, causes of
      action, or avoidance actions they may have, and neither these Global Notes nor the Schedules
      and Statements shall be deemed a waiver of any such claims, causes of actions, or avoidance
      actions or in any way prejudice or impair the assertion of such claims.

20.   Undetermined Amounts. Claim amounts that could not readily be quantified by the Debtors
      are scheduled as “unknown,” “TBD,” or “undetermined”. The description of an amount as
      “unknown,” “TBD,” or “undetermined” is not intended to reflect upon the materiality of such
      amount.

21.   Liens. Property and equipment listed in the Schedules and Statements are presented without
      consideration of any liens that may attach (or have attached) to such property or equipment.

22.   Employee Addresses. For current and former employees and directors the last known
      address is listed where applicable.

23.   Global Notes Control. In the event that the Schedules and Statements differ from these
      Global Notes, the Global Notes shall control.

24.   Confidentiality. There may be instances in the Schedules and Statements where the Debtors
      have deemed it necessary and appropriate to redact from the public record information such
      as names, addresses, or amounts. Typically, the Debtors have used this approach because of


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     an agreement between the Debtors and a third party, concerns of confidentiality, or concerns
     for the privacy of, or otherwise preserving the confidentiality of, personally identifiable
     information.

                         General Disclosures Applicable to Schedules

1.   Classifications. Listing a Claim on Schedule D as “secured,” or on Schedule E/F as
     “priority,” or “unsecured,” or a contract on Schedule G as “executory” or “unexpired,” does
     not in each case constitute an admission by the Debtors of the legal rights of the claimant, or
     a waiver of the Debtors’ right to recharacterize or reclassify such Claim or contract.

2.   Schedule A/B - Real and Personal Property.

          a) Schedule A/B.3. Bank account and investment account balances are as of the
             Petition Date. Certificates of Deposit are listed inclusive of accrued interest as of
             the Petition Date.

          b) Schedule A/B.11. Schedule A/B identifies the net accounts receivable balance as
             of the Petition Date. The value of the net accounts receivable balance is lower than
             the gross accounts receivable balance due to offsets on accounts receivable incurred
             as part of the Debtors’ various customer programs, otherwise known as “gross-to-
             net” programs.

          c) Schedule A/B.15. The Debtors’ equity interest in Centrexion Therapeutics Corp.
             arises from its common stock ownership. For purposes of these Schedules, the
             Debtors have listed the book value of this investment.

          d) Schedule A/B.16. Investments are listed at their accrued value as of the Petition
             Date.

          e) Schedules A/B.39-41. Interest in office furniture, equipment, and collectibles are
             scheduled as being owned by a specific Debtor based on the Debtors’ books and
             records. It would be burdensome and an inefficient use of estate resources, as well
             as impracticable, to review, verify and assign each interest in office furniture,
             fixtures, equipment, and collectibles to a specific Debtor. Accordingly, Schedules
             A/B.39-41 of any particular Debtor may list interests in office furniture, fixtures,
             equipment, and collectibles that are owned by other Debtors.

          f) Schedule A/B.50. Interest in machinery, fixtures, and equipment are scheduled as
             being owned by a specific Debtor based on the Debtors’ books and records. If any
             such machinery, fixtures, and equipment are leased, the applicable leases will
             appear on the relevant Debtor’s Schedule G of executory contracts and unexpired
             leases.

          g) Schedule A/B.72. Debtors have filed extensions for all Federal and State tax returns
             for the calendar year 2018. Taxable income or Net Operating Loss from the current
             year’s activity has not been determined as of Petition Date. Prepaid tax assets
             derived from prior tax year overpayments, estimated tax payments, and amounts


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              paid with extension are included in Schedule A/B.72.


          h) Schedule A/B.73. The Debtors maintain a variety of insurance policies including
             property, general liability, and workers' compensation policies and other employee
             related policies. The Debtors’ interest in these types of policies is limited to the
             amount of the premiums that the Debtors have prepaid, if any, as of May 31, 2019,
             and any prefunded claim tails. To the extent the Debtors have made a determination
             of the amount of prepaid insurance premiums or prefunded claim tails as of May
             31, 2019, such amounts are listed on Exhibit A/B, Part 2, Question 8.

          i) Schedule A/B.74. Despite exercising their reasonable efforts to identify all known
             assets, the Debtors may not have listed all of their causes of action or potential
             causes of action against third parties as assets in their Schedules including, but not
             limited to, avoidance actions arising under chapter 5 of the Bankruptcy Code and
             actions under other relevant non-bankruptcy laws to recover assets. Unless
             otherwise noted on specific responses, items reported on Schedule A/B are reported
             from the Debtors’ book and records as of the Petition Date. The Debtors reserve
             all of their rights with respect to any claims and causes of action they may have.
             Neither these Global Notes nor the Schedules shall be deemed a waiver of any such
             claims or causes of action or to prejudice or impair the assertion thereof in any way.

          j) Schedule A/B.75. In the ordinary course of business, the Debtors may have
             accrued, or may in the future accrue, certain rights to counter-claims, cross-claims,
             setoffs, and/or refunds with Debtors’ customers and suppliers, or potential warranty
             claims against their suppliers. Additionally, certain of the Debtors may be party to
             pending litigation in which the Debtors have asserted, or may assert, claims as a
             plaintiff or counter-claims and/or cross-claims as a defendant. Because such claims
             are unknown to the Debtors and not quantifiable as of the Petition Date, they are
             not listed on Schedule A/B.75.

          k) Schedule A/B.77. Debtors Insys Therapeutics, Inc., Insys Development Company,
             Inc. and Insys Manufacturing Company, LLC record right of use assets for lease
             accounting purposes in accordance with GAAP under ASC 842. Right of use assets
             have been excluded from Schedule A/B.77.

3.   Schedule D – Creditors Holding Secured Claims. The Debtors are not aware of any
     secured claims against the Debtors.

     Real property lessors, utility companies, and other parties that may hold security deposits
     have not been listed on Schedule D. The Debtors reserve their rights to amend Schedule D
     to the extent that the Debtors determine that any claims associated with such agreements
     should be reported on Schedule D.

     Moreover, the Debtors have not included on Schedule D claims that may be secured through
     setoff rights or inchoate statutory lien rights. The Debtors have not investigated which of the
     claims against the Debtors may include such rights, and their population is currently


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     unknown.

4.   Schedule E/F– Creditors Holding Unsecured Claims.

     The Debtors have used reasonable efforts to report all general unsecured claims against the
     Debtors on Schedule E/F based upon the Debtors’ existing books and records as of the
     Petition Date; however, inadvertent errors or omissions may have occurred. The claims
     listed on Schedule E/F arose or were incurred on various dates. In certain instances, the date
     on which a Claim arose may be an open issue of fact. In addition, the claims of individual
     creditors for, among other things, goods or services are listed as either the lower of the
     amounts invoiced by such creditor or the amounts entered on the Debtors’ books and records
     and may not reflect credits, rebates, or allowances due from such creditors to the applicable
     Debtors.

     Certain former directors, officers and/or employees of the Debtors have asserted
     indemnification claims against the Debtors. In these cases, the Debtors listed such claimants’
     counsel as the creditors rather than the claimants themselves, and identified such claims as
     indemnification claims.

     The Debtors have not listed any tax, wage, wage-related obligations, or certain trade payables
     that the Debtors were granted authority to pay and have paid pursuant to First Day Orders on
     Schedule E/F.

     The Debtors believe that all such claims for wages, salaries, expenses, benefits, and other
     compensation as described in the First Day Orders have been or will be satisfied in the
     ordinary course during these chapter 11 cases pursuant to the authority granted to the Debtors
     in the relevant First Day Orders. Unpaid amounts for severed employees have not been
     analyzed to determine whether such amounts should be viewed as priority claims. In
     addition, for severed employees, there has been no analysis of whether any unpaid amounts
     exceed the priority claim limit or whether there should be a bifurcation of amounts owed
     between priority and nonpriority unsecured amounts. Accordingly, such claims are listed in
     Part 2 of Schedule E/F. The Debtors reserve their right to dispute or challenge whether
     creditors listed on Schedule E/F are entitled to priority claims.

     Claims owing to various taxing and regulatory authorities to which the Debtors may
     potentially be liable are included on the Debtors’ Schedule E/F. Certain of such claims,
     however, may be subject to on-going audits and/or the Debtors are otherwise unable to
     determine with certainty the amount of the remaining claims listed on Schedule E/F.
     Therefore, the Debtors have listed all such claims as nonpriority, pending final resolution of
     on-going audits or other outstanding issues.

     Notwithstanding the foregoing, where creditors have yet to provide proper invoices for
     prepetition goods or services, such amounts may not be reflected on Schedule E/F. Moreover,
     Schedule E/F does not include certain balances including deferred liabilities, accruals, or
     general reserves. Such amounts are, however, reflected on the Debtors’ books and records as
     required in accordance with GAAP. Such accruals primarily represent general estimates of
     liabilities and do not represent specific claims as of the Petition Date.



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     Schedule E/F also contains information regarding pending litigation involving the Debtors.
     The dollar amount of potential claims associated with any such pending litigation is listed as
     “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules and
     Statements. Some of the litigation claims listed on Schedule E/F may be subject to
     subordination pursuant to section 510 of the Bankruptcy Code.

     On June 10, 2019, the Debtors filed a motion [ECF No. 28] (the “9019 Motion”) seeking
     approval under Bankruptcy Rule 9019 of a stipulation entered into between Insys
     Therapeutics, Inc. and the United States that fixes a general unsecured claim of the United
     States in these Chapter 11 Cases in the amount of $243 million, capped at a recovery of $195
     million (inclusive of a $5 million prepetition payment), on account of the Covered Conduct
     and any claims under the Civil Settlement Agreement, as such terms are defined and more
     fully described in the 9019 Motion. The 9019 Motion is currently scheduled to be considered
     by the Bankruptcy Court at a hearing on August 15, 2019.

     Generally, the Debtors’ accounts payable are scheduled as being owed by a specific Debtor
     based on the Debtors’ books and records. There may be instances when one Debtor engages
     in a transaction or series of transactions which might generate accounts payable or other
     entries reported in the Schedules and Statements of another Debtor. It would be burdensome
     and an inefficient use of estate resources for the Debtors to allocate their accounts payable
     on a Debtor-by-Debtor basis in certain instances. Additionally, certain accounts payable
     reported in the Schedules of one of the Debtors may, in fact, be owed by one or more of the
     other Debtors. Consequently, Schedule E/F of each Debtor may list accounts payable
     liabilities of other Debtors.

5.   Schedule G – Executory Contracts and Unexpired Leases. While every effort has been
     made to ensure the accuracy of Schedule G, review is ongoing and inadvertent errors,
     omissions, or over-inclusion may have occurred. Each lease and contract listed in Schedule
     G may include one or more ancillary documents, including any underlying assignment and
     assumption agreements, amendments, supplements, full and partial assignments, renewals
     and partial releases. Certain of the leases and contracts listed on Schedule G may contain
     certain renewal options, guarantees of payment, options to purchase, rights of first refusal,
     and other miscellaneous rights. Such rights, powers, duties, and obligations are not set forth
     on Schedule G. In addition, the Debtors may have entered into various other types of
     agreements in the ordinary course of business, such as indemnity agreements, non-executory
     supplemental agreements, amendments/letter agreements, and confidentiality agreements.
     Such documents may not be set forth on Schedule G. Certain of the contracts, agreements,
     and leases listed on Schedule G may have been entered into by more than one of the Debtors.
     The Debtors may have included such contracts on the Schedule G of only one Debtor and
     excluded it from other Debtor counterparties.

     In certain circumstances, the specific Debtor obligor(s) to certain of the Agreements could
     not be specifically identified. In such cases, the Debtors have made reasonable efforts to
     identify the correct Debtor’s Schedule G on which to list the agreement. In some cases, the
     same supplier or provider appears multiple times in Schedule G. This multiple listing is to
     reflect distinct agreements between the applicable Debtor and such supplier or provider. In
     such cases, the Debtors made their best efforts to determine the correct Debtor on which to


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     list such executory contracts or unexpired leases. Certain of the executory contracts may not
     have been memorialized in writing and could be subject to dispute.

     The agreements listed on Schedule G may have expired or may have been renewed, modified,
     amended, or supplemented from time to time by various amendments, restatements, waivers,
     estoppel certificates, letters and other documents, instruments and agreements, which may
     not be listed on Schedule G.

     Any and all of the Debtors’ rights, claims, and causes of action with respect to the agreements
     listed on Schedule G are hereby reserved and preserved, including, but not limited to, the
     Debtors’ rights to (i) dispute the validity, status, or enforceability of any agreements set forth
     on Schedule G, (ii) dispute or challenge the characterization of the structure of any
     transaction, or any document or instrument related to a creditor’s claim, including, but not
     limited to, the agreements listed on Schedule G and (iii) amend or supplement Schedule G
     as necessary. Inclusion or exclusion of any agreement on Schedule G does not constitute an
     admission that such agreement is an executory contract or unexpired lease, and the Debtors
     reserve all rights in that regard, including that any agreement is not executory, has expired
     pursuant to its terms, or was terminated prepetition.

     The Debtors have made reasonable efforts to list each executory contract or unexpired lease
     at the correct Debtor or Debtor(s). However, liabilities associated with certain executory
     contracts or unexpired leases may be reported on the Schedules of a particular Debtor while
     the corresponding executory contract or unexpired lease is listed on the Schedule G of a
     different Debtor.

6.   Schedule H - Codebtors. In the ordinary course of their business, the Debtors are involved
     in pending or threatened litigation and claims arising out of the conduct of their business.
     These matters may involve multiple plaintiffs and defendants, some or all of whom may
     assert cross-claims and counterclaims against other parties. Because such claims are listed
     elsewhere in the Statements and Schedules, they have not been set forth individually on
     Schedule H.

     The Debtors may not have identified certain guarantees that are embedded in the Debtors’
     executory contracts, unexpired leases and other such agreements. The Debtors reserve their
     right, but shall not be required, to amend the Schedules to the extent that guarantees are
     identified.

                         General Disclosures Applicable to Statements

a. Statements – Question 1 – Revenue. Historically, revenue is reported on the Debtors’
   consolidated financials; however, revenue is recorded in the Debtors’ books and records on an
   individual Debtor basis. In response to Question 1, revenue is listed on an individual Debtor
   basis.

b. Statements – Question 3 - 90 Day Payments. The Debtors have responded to Question 3 in
   the Statements in a detailed format, categorized by payee. All disbursements listed in Question
   3 are made through the Debtors’ cash management system, more fully described in the Cash



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    Management Motion.5 Dates listed in Question 3 reflect the date upon which the Debtor
    transferred funds to the relevant payee. The response to Question 3 includes any disbursement
    or other transfer made by the Debtors except for those made to insiders (which payments are
    listed in response to Question 4, where applicable), gifts and charitable contributions (which
    payments are listed in response to Question 9, where applicable) and bankruptcy professionals
    (which payments are listed in response to Question 11, where applicable). Not all payees are
    creditors of the Debtors. Certain payees have received payments listed on behalf of other
    parties or have received payments that are not on account of antecedent debts. In addition, the
    response to Question 3 does not include checks that were either voided or not presented before
    the Petition Date.

    In April 2019, thirty of the Debtors’ employees were paid a Key Employee Retention Bonus
    (“KERP Bonus”). The KERP Bonus payments totaled $4.876 million, of which $2.113 million
    was paid to three insiders: (1) Andrew Long, Chief Executive Officer ($1.1 million), (2)
    Andrece Housley, Chief Financial Officer ($400,000), and (3) Mark Nance, Chief Legal
    Officer and General Counsel ($613,000). KERP Bonus payments to insiders are included in
    the response to Question 4. The KERP Bonus payments to non-insiders are excluded from
    Question 3.

c. Statements – Question 4 – Payments to or for the Benefit of Insiders. For purposes of the
   Schedules and Statements, the Debtors define insiders as individuals who, based upon the
   totality of circumstances, have a controlling interest in, or exercise sufficient control over, the
   respective Debtor so as to unqualifiedly dictate corporate policy and the disposition of assets.
   Individuals listed in the Statements as insiders have been included for informational purposes
   only. The Debtors do not take any position with respect to (i) such person’s influence over the
   control of the Debtors; (ii) the management responsibilities or functions of such individual;
   (iii) the decision-making or corporate authority or such individual; or (iv) whether such
   individual could successfully argue that he or she is not an “insider” under applicable law,
   including the federal securities law, or with respect to any theories of liability or any other
   purpose. As such, the Debtors reserve all rights to dispute whether someone identified in
   response to Question 4 is in fact an “insider” as defined in section 101(31) of the Bankruptcy
   Code. For more information regarding each Debtor’s officers and directors, see Questions 28
   and 29.

    The payroll-related amounts shown in response to this question for any salary, bonus or
    additional compensation, and/or severance payments are gross amounts that do not include
    reductions for amounts including employee tax or benefit withholdings.

d. Statements – Question 7: Legal Actions or Assignments. The Debtors reserve all of their
   rights and defenses with respect to any and all listed lawsuits and administrative proceedings.
   The listing of any such suits and proceedings shall not constitute an admission by the Debtors

5See Motion of Debtors Pursuant to 11 U.S.C. §§ 105, 345, 363, 364, 503, and 507 for (I) Authority to (A) Continue
Using Existing Cash Management System, Bank Accounts, and Business Forms, (B) Honor Obligations Relating
Thereto, and (C) Implement Ordinary Course Changes to Cash Management System, (II) Administrative Expense
Priority for Postpetition Intercompany Claims, (III) Waiver or Extension of Time to Comply with Requirements of 11
U.S.C § 345(b), and (IV) Related Relief [D.I. 4] (the “Cash Management Motion”).



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   of any liabilities or that the actions or proceedings were correctly filed against the Debtors or
   any affiliates of the Debtors. The Debtors also reserve their rights to assert that a Debtor is not
   an appropriate party to such actions or proceedings.

   The Debtors have devoted substantial resources to identify and provide as much information
   for as many proceedings as possible in response to Statements Question 7 using records that
   were reasonably accessible and reviewable. While the Debtors believe they were diligent in
   their efforts, information the Debtors were unable to locate for proceedings that were listed
   was left blank.

e. Statements – Question 9: Charitable Contributions. The donations and/or charitable
   contributions listed in response to Question 9 represent payments made to third parties during
   the applicable timeframe that were recorded as such within the Debtors’ books and records.

f. Statements – Question 11 – Payments Related to Bankruptcy. The Debtors have used
   reasonable efforts to identify payments for services of any entities that provided consultation
   concerning debt counseling or restructuring services, relief under the Bankruptcy Code, or
   preparation of a petition in bankruptcy within one year immediately before the Petition Date.
   Additional information regarding the Debtors’ retention of professional service firms is more
   fully described in the individual retention applications for those firms and related orders. Not
   all payments made and listed are on account of debt counseling or restructuring services.

g. Statements – Question 13 – Transfers Not Already Listed. While the Debtors have made
   reasonable efforts to respond comprehensively to Question 13, certain de minimis asset sales
   and transfers may be omitted unintentionally. In addition, the Debtors buy and sell certain
   assets in the ordinary course of business. Such dispositions made in the ordinary course of
   business have not been reflected in responses to Question 13. The Debtors further do not take
   any position with respect to whether transfers identified in response to Question 13 are made
   in the ordinary course of business. Certain transfers listed in this response are included solely
   out of an abundance of caution.

h. Statements – Question 14 – Previous Addresses. With the exception of Insys
   Manufacturing, LLC, the Debtors list 1333 S. Spectrum Blvd., Chandler, AZ, 85286 (the
   “Spectrum Location”) as a previous address on Statements Question 14. The Spectrum
   Location was the corporate headquarters address as of Petition Date. Debtors vacated the
   Spectrum Location after the Petition Date. As such, the Spectrum Location address has been
   listed as a previous address on Statements Question 14, with “Present” reflecting that the
   address was active as of the Petition Date.

i. Statements – Question 16 – Personally Identifiable Information (“PII”). In the ordinary
   course of business, the Debtors collect certain PII, consisting of trial patients’ full names,
   signatures, home addresses, telephone numbers, insurance denial letters, letters of medical
   necessity, verification of label indication, and other unsolicited PII. The Debtors maintain a
   privacy policy covering PII.




                                                 13
                                            Case 19-11296-JTD                                   Doc 5             Filed 07/30/19                        Page 14 of 63
  Fill in this information to identify the case:

 Debtor        Insys Pharma, Inc.


 United States Bankruptcy Court for the: District of Delaware


 Case number           19-11296 (KG)
  (if known)
                                                                                                                                                                         ¨ Check if this is an
                                                                                                                                                                            amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                 04/19



  Part 1:       Summary of Assets



 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                        NOT APPLICABLE
         Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1b. Total personal property:
                                                                                                                                                                        $2,060,733,952.08
         Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1c. Total of all property:
                                                                                                                                                                        $2,060,733,952.08
         Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




    Part 2:       Summary of Liabilities



   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                        NOT APPLICABLE
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D . . . . . . . . .



   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)


        3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                        NOT APPLICABLE
            Copy the total claims from Part 1 from line 6a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . . .


        3b. Total amount of claims of nonpriority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                  +     $2,264,912,767.55




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                        $2,264,912,767.55
      Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                                Page 1 of 1
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  Fill in this information to identify the case:

 Debtor        Insys Pharma, Inc.


 United States Bankruptcy Court for the: District of Delaware


 Case number          19-11296 (KG)
  (if known)
                                                                                                                            ¨ Check if this is an
                                                                                                                               amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                         04/19

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
 debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
 sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:        CASH AND CASH EQUIVALENTS

 1.    DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
       þ       No. Go to Part 2.
       ¨       Yes. Fill in the information below.



          All cash or cash equivalents owned or controlled by the debtor                                                    Current value of
                                                                                                                            debtor’s interest

 2.    CASH ON HAND

 3.    CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
       (IDENTIFY ALL)

 4.    OTHER CASH EQUIVALENTS

 5     Total of Part 1.
       ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE                                            NOT APPLICABLE
       TOTAL TO LINE 80.

 Part 2:        DEPOSITS AND PREPAYMENTS

 6.    DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
       ¨       No. Go to Part 3.
       þ       Yes. Fill in the information below.


                                                                                                                            Current value of
                                                                                                                            debtor’s interest

 7.    DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
       DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT
       7.1.         SECURITY DEPOSIT - BAKER DONELSON                                                                                $125,000.00
       7.2.         SECURITY DEPOSIT - KIECKHEFER PROPERTY MGMT LLC /IN: SEC DEP (FRYE ROAD II, LLC)                                  $23,000.00

 8.    PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
       INSURANCE, TAXES, AND RENT
       DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT
       8.1.         PREPAID EXPENSES - COOLEY                                                                                        $143,450.45
       8.2.         PREPAID EXPENSES - MDL                                                                                            $72,727.00


Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                                Page 1 of 7
 Debtor       Insys Pharma, Inc.   Case 19-11296-JTD                        Doc 5      Filed 07/30/19           Page19-11296
                                                                                              Case number (if known)  16 of(KG)
                                                                                                                             63
              (Name)


                                                                                                                                           Current value of
                                                                                                                                           debtor’s interest

 8.   PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
      INSURANCE, TAXES, AND RENT
      DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT
      8.3.        PREPAID EXPENSES - SALMON LEWIS & WELDON, PLC                                                                                       $25,000.00

 9    Total of Part 2.
      ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.                                                                                             $389,177.45


 Part 3:      ACCOUNTS RECEIVABLE

 10. DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
      ¨      No. Go to Part 4.
      þ      Yes. Fill in the information below.


                                                                                                                                           Current value of
                                                                                                                                           debtor’s interest

 11. ACCOUNTS RECEIVABLE
      RECEIVABLE FROM IC                             $56,766,254.15                                      $0.00      = è                          $56,766,254.15
                                                                        -
      OPERATIONS, INC.                                    face amount         doubtful or uncollectable accounts
      RECEIVABLE FROM INSYS                         $428,995,236.83                                      $0.00      = è                         $428,995,236.83
                                                                        -
      DEVELOPMENT                                         face amount         doubtful or uncollectable accounts
      COMPANY, INC.
      RECEIVABLE FROM INSYS                         $289,176,082.46                                      $0.00      = è                         $289,176,082.46
                                                                        -
      MANUFACTURING, LLC                                  face amount         doubtful or uncollectable accounts
      RECEIVABLE FROM INSYS                        $1,183,596,778.83                                     $0.00      = è                       $1,183,596,778.83
                                                                        -
      THERAPEUTICS, INC.                                  face amount         doubtful or uncollectable accounts
      RECEIVABLE FROM IPSC,                          $51,188,747.91                                      $0.00      = è                          $51,188,747.91
                                                                        -
      LLC                                                 face amount         doubtful or uncollectable accounts

 12   Total of Part 3.
      CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.                                                                  $2,009,723,100.18


 Part 4:      INVESTMENTS

 13. DOES THE DEBTOR OWN ANY INVESTMENTS?
      ¨      No. Go to Part 5.
      þ      Yes. Fill in the information below.


                                                                                                                   Valuation method used   Current value of
                                                                                                                   for current value       debtor’s interest

 14. MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1
      NAME OF FUND OR STOCK:
      NONE

 15. NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
     UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC, PARTNERSHIP,
     OR JOINT VENTURE
      Name of entity                                                                          % of ownership
      15.1.       IC OPERATIONS, LLC                                                        100%                                                     UNKNOWN
      15.2.       INSYS DEVELOPMENT COMPANY, INC.                                           100%                                                     UNKNOWN
      15.3.       IPSC, LLC                                                                 100%                                                     UNKNOWN
      15.4.       IPT 355, LLC                                                              100%                                                     UNKNOWN

 16. GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
     NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
      DESCRIBE:
      NONE



Official Form 206A/B                                   Schedule A/B: Assets - Real and Personal Property                                              Page 2 of 7
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                                                                                   Case number (if known)  17 of(KG)
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             (Name)


 17   Total of Part 4.
      ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.                                                                           UNKNOWN


 Part 5:     INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18. DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
      þ     No. Go to Part 6.
      ¨     Yes. Fill in the information below.



          General description                         Date of the last     Net book value of     Valuation method used   Current value of
                                                      physical inventory   debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 19. RAW MATERIALS

 20. WORK IN PROGRESS

 21. FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE

 22. OTHER INVENTORY OR SUPPLIES

 23   Total of Part 5.
      ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.                                                                    NOT APPLICABLE

 24. Is any of the property listed in Part 5 perishable?
     þ No
     ¨ Yes
 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes      Book value                      Valuation method                                                    Current value

 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 6:     FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27. DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
     LAND)?
      þ     No. Go to Part 7.
      ¨     Yes. Fill in the information below.


          General description                                              Net book value of     Valuation method used   Current value of
                                                                           debtor's interest     for current value       debtor’s interest
                                                                           (Where available)

 28. CROPS—EITHER PLANTED OR HARVESTED

 29. FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH


 30. FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES)


 31. FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED

 32. OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART 6

 33   Total of Part 6.
      ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.                                                                    NOT APPLICABLE

 34. Is the debtor a member of an agricultural cooperative?
     þ No
     ¨ Yes. Is any of the debtor’s property stored at the cooperative?
          ¨ No
          ¨ Yes
 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes


Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                 Page 3 of 7
 Debtor      Insys Pharma, Inc.   Case 19-11296-JTD                Doc 5      Filed 07/30/19           Page19-11296
                                                                                     Case number (if known)  18 of(KG)
                                                                                                                    63
             (Name)


 36. Is a depreciation schedule available for any of the property listed in Part 6?
     þ No
     ¨ Yes
 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 7:     OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38. DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
      þ     No. Go to Part 8.
      ¨     Yes. Fill in the information below.



          General description                                                 Net book value of   Valuation method used   Current value of
                                                                              debtor's interest   for current value       debtor’s interest
                                                                              (Where available)

 39. OFFICE FURNITURE

 40. OFFICE FIXTURES

 41. OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
     SYSTEMS EQUIPMENT AND SOFTWARE

 42. COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR
     OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND
     CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS,
     MEMORABILIA, OR COLLECTIBLES




 43   Total of Part 7.
      ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.                                                                    NOT APPLICABLE


 44. Is a depreciation schedule available for any of the property listed in Part 7?
     þ No
     ¨ Yes
 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 8:     MACHINERY, EQUIPMENT, AND VEHICLES

 46. DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
      þ     No. Go to Part 9.
      ¨     Yes. Fill in the information below.


          General description                                                 Net book value of   Valuation method used   Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   for current value       debtor’s interest
          HIN, or N-number)                                                   (Where available)

 47. AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
     VEHICLES

 48. WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES: BOATS,
     TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND FISHING
     VESSELS


 49. AIRCRAFT AND ACCESSORIES

 50. OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
     EQUIPMENT)

 51   Total of Part 8.
      ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.                                                                    NOT APPLICABLE


Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                  Page 4 of 7
 Debtor      Insys Pharma, Inc.   Case 19-11296-JTD               Doc 5      Filed 07/30/19           Page19-11296
                                                                                    Case number (if known)  19 of(KG)
                                                                                                                   63
             (Name)


 52. Is a depreciation schedule available for any of the property listed in Part 8?
     ¨ No
     þ Yes
 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 9:     REAL PROPERTY

 54. DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
      þ     No. Go to Part 10.
      ¨     Yes. Fill in the information below.


 55. ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


          Description and location of property          Nature and extent   Net book value of      Valuation method used   Current value of
          Include street address or other description   of debtor’s         debtor's interest      for current value       debtor’s interest
          such as Assessor Parcel Number (APN), and     interest in         (Where available)
          type of property (for example, acreage,       property
          factory, warehouse, apartment or office
          building), if available


 56   Total of Part 9.
      ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY                                                   NOT APPLICABLE
      ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.

 57. Is a depreciation schedule available for any of the property listed in Part 9?
     þ No
     ¨ Yes
 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 10: INTANGIBLES AND INTELLECTUAL PROPERTY

 59. DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
      ¨     No. Go to Part 11.
      þ     Yes. Fill in the information below.



          General description                                               Net book value of      Valuation method used   Current value of
                                                                            debtor's interest      for current value       debtor’s interest
                                                                            (Where available)

 60. PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS
      60.1.      BUPRENORPHINE PUBLICATION NO.CA2923811                                    $0.00                                     UNKNOWN
      60.2.      BUPRENORPHINE PUBLICATION NO.EP3043777                                    $0.00                                     UNKNOWN
      60.3.      CANNABINOIDS PUBLICATION NO.AU2015266897                                  $0.00                                     UNKNOWN
      60.4.      CANNABINOIDS PUBLICATION NO.CA 2950424                                    $0.00                                     UNKNOWN
      60.5.      CANNABINOIDS PUBLICATION NO.CN106999598                                   $0.00                                     UNKNOWN
      60.6.      CANNABINOIDS PUBLICATION NO.EP3148589                                     $0.00                                     UNKNOWN
      60.7.      CANNABINOIDS PUBLICATION NO.IL249197                                      $0.00                                     UNKNOWN
      60.8.      CANNABINOIDS PUBLICATION NO.JP2017519742                                  $0.00                                     UNKNOWN
      60.9.      CANNABINOIDS PUBLICATION NO.KR1020170008311                               $0.00                                     UNKNOWN
      60.10.     CANNABINOIDS PUBLICATION NO.MX/A/2016/015636                              $0.00                                     UNKNOWN
      60.11.     CANNABINOIDS PUBLICATION NO.NZ726746                                      $0.00                                     UNKNOWN
      60.12.     CANNABINOIDS PUBLICATION NO.ZA2016/08209                                  $0.00                                     UNKNOWN

 61. INTERNET DOMAIN NAMES AND WEBSITES
      NONE

 62. LICENSES, FRANCHISES, AND ROYALTIES
      NONE

 63. CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS
      NONE


Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                  Page 5 of 7
 Debtor      Insys Pharma, Inc.   Case 19-11296-JTD             Doc 5       Filed 07/30/19           Page19-11296
                                                                                   Case number (if known)  20 of(KG)
                                                                                                                  63
             (Name)



          General description                                              Net book value of     Valuation method used    Current value of
                                                                           debtor's interest     for current value        debtor’s interest
                                                                           (Where available)

 64. OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY
      NONE

 65. GOODWILL
      NONE

 66   Total of Part 10.
      ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.                                                                               UNKNOWN


 67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     ¨ No
     þ Yes
 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     þ No
     ¨ Yes
 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 11: ALL OTHER ASSETS

 70. DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
     INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
      ¨     No. Go to Part 12.
      þ     Yes. Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor’s interest

 71. NOTES RECEIVABLE
      DESCRIPTION (INCLUDE NAME OF OBLIGOR)
      NONE

 72. TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)
      DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)
      AL AMENDED RETURN REFUND RECEIVABLE                                                        Tax year   2014                         $11.00
      AL AMENDED RETURN REFUND RECEIVABLE                                                        Tax year   2015                         $29.00
      AL STATE TAX EXTENSION PREPAYMENT                                                          Tax year   2018                       $125.00
      IL NOL                                                                                     Tax year   2012                   $341,896.00
      KY NOL                                                                                     Tax year   2017                 $23,265,495.45
      KY OVERPAYMENT (CREDITED TO 2018 RETURN)                                                   Tax year   2017                     $41,422.00
      KY OVERPAYMENT (CREDITED TO 2018 RETURN)                                                   Tax year   2017                      $5,863.00
      MT NOL                                                                                     Tax year   2017                 $23,497,244.00
      MT STATE TAX EXTENSION PREPAYMENT                                                          Tax year   2018                       $100.00
      NC AMENDED RETURN REFUND RECEIVABLE                                                        Tax year   2015                      $2,619.00
      NC OVERPAYMENT (CREDITED TO 2018 ESTIMATED TAX)                                            Tax year   2017                      $1,235.00
      NJ AMENDED RETURN REFUND RECEIVABLE                                                        Tax year   2015                      $2,459.00
      OK STATE TAX EXTENSION PREPAYMENT                                                          Tax year   2018                       $100.00
      PA AMENDED RETURN REFUND RECEIVABLE                                                        Tax year   2015                      $1,214.00
      TN NOL                                                                                     Tax year   2017                  $3,368,112.00
      TN OVERPAYMENT (CREDITED TO 2018 RETURN)                                                   Tax year   2017                     $86,000.00
      TN STATE TAX EXTENSION PREPAYMENT                                                          Tax year   2018                      $7,750.00

 73. INTERESTS IN INSURANCE POLICIES OR ANNUITIES
      NONE

 74. CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
     BEEN FILED)
      NONE




Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                     Page 6 of 7
 Debtor       Insys Pharma, Inc.       Case 19-11296-JTD                            Doc 5           Filed 07/30/19           Page19-11296
                                                                                                           Case number (if known)  21 of(KG)
                                                                                                                                          63
              (Name)


                                                                                                                                                              Current value of
                                                                                                                                                              debtor’s interest
 75. OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
     NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
     CLAIMS
       NONE

 76. TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY
       NONE

 77. OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON TICKETS,
     COUNTRY CLUB MEMBERSHIP EXAMPLES: SEASON TICKETS, COUNTRY CLUB
     MEMBERSHIP
       NONE

 78    Total of Part 11.
       ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.                                                                                                          $50,621,674.45


 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 12: Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


          Type of property                                                                       Current value of                  Current value of real
                                                                                                 personal property                 property
 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.


 81. Deposits and prepayments. Copy line 9, Part 2.                                                      $389,177.45

 82. Accounts receivable. Copy line 12, Part 3.                                                  $2,009,723,100.18


 83. Investments. Copy line 17, Part 4.                                                                   UNKNOWN

 84. Inventory. Copy line 23, Part 5.


 85. Farming and fishing-related assets. Copy line 33, Part 6.


 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.


 88. Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è                       N/A


 89. Intangibles and intellectual property. Copy line 66, Part 10.                                        UNKNOWN

 90. All other assets. Copy line 78, Part 11.                                             +          $50,621,674.45


 91. Total. Add lines 80 through 90 for each column. . . . . . . . . 91a.                        $2,060,733,952.08           + 91b.                    N/A




 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      $2,060,733,952.08




Official Form 206A/B                                          Schedule A/B: Assets - Real and Personal Property                                                          Page 7 of 7
                                      Case 19-11296-JTD                Doc 5        Filed 07/30/19           Page 22 of 63
  Fill in this information to identify the case:

 Debtor        Insys Pharma, Inc.


 United States Bankruptcy Court for the: District of Delaware


 Case number          19-11296 (KG)
  (if known)
                                                                                                                                         ¨ Check if this is an
                                                                                                                                            amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                               04/19

 Be as complete and accurate as possible.

 1.    1. Do any creditors have claims secured by debtor’s property?
       þ       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ¨       Yes. Fill in all of the information below.




Official Form 206D                              Schedule D: Creditors Who Have Claims Secured by Property                                            Page 1 of 1
                                      Case 19-11296-JTD             Doc 5      Filed 07/30/19           Page 23 of 63
  Fill in this information to identify the case:

 Debtor        Insys Pharma, Inc.


 United States Bankruptcy Court for the: District of Delaware


 Case number          19-11296 (KG)
  (if known)
                                                                                                                                  ¨ Check if this is an
                                                                                                                                     amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                               04/19

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


  Part 1: List All Creditors with PRIORITY Unsecured Claims


 1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       þ No. Go to Part 2.
       ¨ Yes. Go to line 2.
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims


 3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
       unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                   Amount of claim

 3.1            Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                           $44.58
                                                                             Check all that apply.
                1&1 INTERNET, INC
                701 LEE RD                                                   ¨ Contingent
                SUITE 300                                                    ¨ Unliquidated
                WAYNE, PA 19087                                              ¨ Disputed
                Date or dates debt was incurred                              Basis for the claim:
                                                                             VENDOR
                8/5/15
                                                                             Is the claim subject to offset?
                Last 4 digits of account number: 1001                        þ No
                                                                             ¨ Yes

 3.2            Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                    $28,739.25
                                                                             Check all that apply.
                ADLER POLLOCK & SHEEHAN P.C.
                ONE CITZENS PLAZA, 8TH FLOOR                                 ¨ Contingent
                PROVIDENCE, RI 02903-1345                                    ¨ Unliquidated
                                                                             ¨ Disputed
                Date or dates debt was incurred
                                                                             Basis for the claim:
                VARIOUS                                                      PROFESSIONAL SERVICES
                Last 4 digits of account number: DLER                        Is the claim subject to offset?
                                                                             þ No
                                                                             ¨ Yes

 3.3            Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                       $161.16
                                                                             Check all that apply.
                AFLAC
                WORLDWIDE HEADQUARTERS                                       ¨ Contingent
                COLUMBUS, GA 31999                                           ¨ Unliquidated
                                                                             ¨ Disputed
                Date or dates debt was incurred
                                                                             Basis for the claim:
                8/24/15                                                      VENDOR
                Last 4 digits of account number: FLAC                        Is the claim subject to offset?
                                                                             þ No
                                                                             ¨ Yes




Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 1 of 21
 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD            Doc 5     Filed 07/30/19           Page19-11296
                                                                               Case number (if known)  24 of(KG)
                                                                                                              63
            (Name)


  Part 2:   Additional Page

                                                                                                                      Amount of claim

 3.4        Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                 $54.20
                                                                      Check all that apply.
            ARAMARK
            AUS WEST LOCKBOX                                          ¨ Contingent
            P.O.BOX 101179                                            ¨ Unliquidated
            PASADENA, CA 91189                                        ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      VENDOR
            VARIOUS
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: A001                     þ No
                                                                      ¨ Yes

 3.5        Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $44,952.42
                                                                      Check all that apply.
            BAKER DONELSON,BEARMAN,CALDWELL & BERKOWITZ,
            PC                                           ¨ Contingent
            100 LIGHT STREET                             ¨ Unliquidated
            BALTIMORE, MD 21202                          ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      PROFESSIONAL SERVICES
            6/26/19
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: AKER                     þ No
                                                                      ¨ Yes

 3.6        Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $9,694.61
                                                                      Check all that apply.
            BALLARD SPAHR LLP
            1 EAST WASHINGTON STREET, SUITE 2500                      ¨ Contingent
            PHOENIX, AZ 85004-2555                                    ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   PROFESSIONAL SERVICES
            Last 4 digits of account number: LARD                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.7        Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $76,114.50
                                                                      Check all that apply.
            BERKELEY RESEARCH GROUP, LLC
            LAURA DORMAN, MANAGING DIRECTOR                           þ Contingent
            & ASSOC. GENERAL COUNSEL                                  ¨ Unliquidated
            2200 POWELL STREET, SUITE 1200                            þ Disputed
            EMERYVILLE, CA 94608                                      Basis for the claim:
            Date or dates debt was incurred                           INDEMNITY - COUNSEL FOR JOHN KAPOOR
            VARIOUS                                                   Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: RES                      ¨ Yes

 3.8        Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $20,852.08
                                                                      Check all that apply.
            BLANK ROME LLP
            300 CARNEGIE CENTER, SUITE 220                            þ Contingent
            ATTN: FINANCE DEPARTMENT                                  ¨ Unliquidated
            PRINCETON, NJ 08540                                       þ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      INDEMNITY - COUNSEL FOR MICHELLE
            VARIOUS                                                   BREITENBACH
            Last 4 digits of account number: ROME                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                               Page 2 of 21
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                                                                                Case number (if known)  25 of(KG)
                                                                                                               63
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.9        Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:      UNDETERMINED
                                                                       Check all that apply.
            BLOUNT COUNTY, TENNESSEE
            ATTN CHIEF EXECTIVE OFFICER, CO ATTORNEY                   þ Contingent
            OR COUNTY COURT CLERK                                      þ Unliquidated
            345 COURT STREET                                           þ Disputed
            MARYVILLE, TN 37804                                        Basis for the claim:
            Date or dates debt was incurred                            LITIGATION CASE NO. 1:19-OP-45132
            UNDETERMINED                                               Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number:                           ¨ Yes

 3.10       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,785.50
                                                                       Check all that apply.
            BULKLEY, RICHARDSON AND GELINAS, LLP
            1500 MAIN STREET                                           þ Contingent
            SUITE 2700                                                 ¨ Unliquidated
            PO BOX 15507                                               þ Disputed
            SPRINGFIELD, MA 01115-5507                                 Basis for the claim:
            Date or dates debt was incurred                            INDEMNITY - COUNSEL FOR LESLIE ZACKS
                                                                       AND XUN YU
            5/13/19
                                                                       Is the claim subject to offset?
            Last 4 digits of account number: L001                      þ No
                                                                       ¨ Yes

 3.11       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $299,723.74
                                                                       Check all that apply.
            CARLTON FIELDS
            PO BOX 3239                                                ¨ Contingent
            TAMPA, FL 33601-3239                                       ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    PROFESSIONAL SERVICES
            Last 4 digits of account number: R022                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.12       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,448.00
                                                                       Check all that apply.
            CHRIS HOMRICH
            13622 N SUNFLOWER DR                                       ¨ Contingent
            FOUNTAIN HILLS, AZ 85268                                   ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            7/26/15                                                    EMPLOYEE RELATED
            Last 4 digits of account number: M001                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.13       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $141.41
                                                                       Check all that apply.
            CIT TECHNOLOGY FIN. SERV. INC.
            21146 NETWORK PLACE                                        ¨ Contingent
            CHICAGO, IL 60673-1211                                     ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            11/16/15                                                   VENDOR
            Last 4 digits of account number: CIT                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                               Page 3 of 21
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                                                                                Case number (if known)  26 of(KG)
                                                                                                               63
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.14       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:      UNDETERMINED
                                                                       Check all that apply.
            CITY OF CLARKSVILLE, TENNESSEE
            ATTN CHIEF EXECUTIVE OFFICER                               þ Contingent
            OR CITY ATTORNEY                                           þ Unliquidated
            ONE PUBLIC SQUARE                                          þ Disputed
            CLARKSVILLE, TN 37040                                      Basis for the claim:
            Date or dates debt was incurred                            LITIGATION CASE NO. 1:18-OP-45517
                                                                       (1:18CV1008)
            UNDETERMINED
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.15       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $1,713.28
                                                                       Check all that apply.
            CITY OF ROUND ROCK
            ENVIRONMENTAL SERVICES                                     ¨ Contingent
            ATTN: JEFF KNEBEL                                          ¨ Unliquidated
            2008 ENTERPRISE DR                                         ¨ Disputed
            ROUND ROCK, TX 78664                                       Basis for the claim:
            Date or dates debt was incurred                            UTILITIES
            VARIOUS                                                    Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: T002                      ¨ Yes

 3.16       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $587.04
                                                                       Check all that apply.
            CITY OF ROUND ROCK
            ENVIRONMENTAL SERVICES                                     ¨ Contingent
            ATTN: JEFF KNEBEL                                          ¨ Unliquidated
            2008 ENTERPRISE DR                                         ¨ Disputed
            ROUND ROCK, TX 78664                                       Basis for the claim:
            Date or dates debt was incurred                            UTILITIES
            VARIOUS                                                    Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: I001                      ¨ Yes

 3.17       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:      UNDETERMINED
                                                                       Check all that apply.
            CITY OF SPRINGFIELD, MISSOURI
            ATTN CLERK OF THE COUNTY COURT                             þ Contingent
            BUSCH MUNICIPAL BUILDING                                   þ Unliquidated
            840 BOONVILLE AVE                                          þ Disputed
            SPRINGFIELD, MO 65802                                      Basis for the claim:
            Date or dates debt was incurred                            LITIGATION CASE NO. 1:18-OP-45899
                                                                       (6:18-CV-03167)
            UNDETERMINED
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.18       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $78,573.79
                                                                       Check all that apply.
            CLARK HILL PLLC
            130 EAST RANDOLPH ST.                                      þ Contingent
            SUITE 3900                                                 ¨ Unliquidated
            CHICAGO, IL 60601-6317                                     þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       INDEMNITY - COUNSEL FOR JOHN KAPOOR
            9/30/18
                                                                       Is the claim subject to offset?
            Last 4 digits of account number: HILL                      þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                               Page 4 of 21
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                                                                                Case number (if known)  27 of(KG)
                                                                                                               63
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.19       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:              $8,338.50
                                                                       Check all that apply.
            COHEN & GRESSER LLP
            800 THIRD AVE                                              þ Contingent
            NEW YORK, NY 10022                                         ¨ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            4/22/19                                                    INDEMNITY - COUNSEL FOR SIGRID
            Last 4 digits of account number: H005                      TOULATOS
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.20       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $43,750.47
                                                                       Check all that apply.
            COHEN DOWD QUIGLEY
            800 THIRD AVE                                              þ Contingent
            NEW YORK, NY 10022                                         ¨ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    INDEMNITY - COUNSEL FOR DANIEL DAVIS
            Last 4 digits of account number: OHEN                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.21       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:      UNDETERMINED
                                                                       Check all that apply.
            COUNTY COMMISSION OF NOWATA COUNTY, OKLAHOMA
            ATTN CHIEF EXECUTIVE OFFICER, CLERK,                       þ Contingent
            SECRETARY OR OFFICIAL RECORDS OFFICIAL                     þ Unliquidated
            229 N MAPLE ST                                             þ Disputed
            NOWATA, OK 74048                                           Basis for the claim:
            Date or dates debt was incurred                            LITIGATION CASE NO. 1:19-OP-45225
                                                                       (4:19-CV-00133)
            UNDETERMINED
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.22       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:      UNDETERMINED
                                                                       Check all that apply.
            COUNTY COMMISSION OF OKMULGEE COUNTY,
            OKLAHOMA                                                   þ Contingent
            ATTN CHIEF EXECUTIVE OFFICER, CLERK,                       þ Unliquidated
            SECRETARY OR OFFICIAL RECORDS OFFICIAL                     þ Disputed
            314 W 7TH ST 204                                           Basis for the claim:
            OKMULGEE, OK 74447                                         LITIGATION CASE NO. 1:19-OP-45223
            Date or dates debt was incurred                            (4:19-CV-00131)
            UNDETERMINED                                               Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number:                           ¨ Yes

 3.23       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:      UNDETERMINED
                                                                       Check all that apply.
            COUNTY COMMISSIONER OF MAYES COUNTY, OKLAHOMA
            ATTN CHIEF EXECUTIVE OFFICER, CLERK,         þ Contingent
            SECRETARY OR OFFICIAL RECORDS OFFICIAL       þ Unliquidated
            1 COURT PL 140                               þ Disputed
            PRYOR, OK 74361                              Basis for the claim:
            Date or dates debt was incurred                            LITIGATION CASE NO. 1:19-OP-45227
                                                                       (4:19-CV-00136)
            UNDETERMINED
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                               Page 5 of 21
 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD            Doc 5     Filed 07/30/19           Page19-11296
                                                                               Case number (if known)  28 of(KG)
                                                                                                              63
            (Name)


  Part 2:   Additional Page

                                                                                                                      Amount of claim

 3.24       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $315,639.57
                                                                      Check all that apply.
            COVINGTON & BURLING LLP
            ATTN: ACCOUNTING DEPT                                     ¨ Contingent
            ONE CITY CENTER                                           ¨ Unliquidated
            850 TENTH ST NW                                           ¨ Disputed
            WASHINGTON, DC 20001                                      Basis for the claim:
            Date or dates debt was incurred                           PROFESSIONAL SERVICES
            6/30/19                                                   Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: VING                     ¨ Yes

 3.25       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $250.00
                                                                      Check all that apply.
            CTC-ONS PROGRAM COMMITTEE
            SUE PARTUSCH, MSN, RN-BC, AOCNS                           ¨ Contingent
            1087 TUMBLEWEED DR                                        ¨ Unliquidated
            LOVELAND, OH 45140                                        ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      VENDOR
            5/30/18
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: C001                     þ No
                                                                      ¨ Yes

 3.26       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,250.00
                                                                      Check all that apply.
            DAVID SOVA 1099
            8595 BAILEAU OAKS DR                                      ¨ Contingent
            ADA, MI 49301                                             ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            10/20/16                                                  INDEPENDENT CONTRACTORS
            Last 4 digits of account number: V001                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.27       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $90,269.70
                                                                      Check all that apply.
            DEMEO LLP
            200 STATE STREET                                          þ Contingent
            BOSTON, MA 02109                                          ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY - FORMER COUNSEL FOR MIKE
            Last 4 digits of account number: M002                     GURRY
                                                                      Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.28       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $59,216.18
                                                                      Check all that apply.
            DONNELLY, CONROY & GELHAAR, LLP
            260 FRANKLIN STREET                                       þ Contingent
            SUITE 1600                                                ¨ Unliquidated
            BOSTON, MA 02110                                          þ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      INDEMNITY - COUNSEL FOR ALEC
            VARIOUS                                                   BURLAKOFF
            Last 4 digits of account number: N001                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




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 3.29       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $4,600.00
                                                                      Check all that apply.
            DR. JAMES RHO 1099
            31190 SUTHERLAND DR.                                      ¨ Contingent
            REDLANDS, CA 92373                                        ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            7/28/16                                                   INDEPENDENT CONTRACTORS
            Last 4 digits of account number: O001                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.30       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,800.00
                                                                      Check all that apply.
            EDWARD LUBIN 1099
            433 14TH AVENUE N.                                        ¨ Contingent
            SAINT PETERSBURG, FL 33701                                ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            7/28/16                                                   INDEPENDENT CONTRACTORS
            Last 4 digits of account number: B001                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.31       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $4,180.48
                                                                      Check all that apply.
            ENVIRONMENTAL TESTING SERVICES (NOT ENV
            SERVICES)                                                 ¨ Contingent
            10908 METRONOME DR                                        ¨ Unliquidated
            HOUSTON, TX 77043                                         ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      VENDOR
            VARIOUS
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: V001                     þ No
                                                                      ¨ Yes

 3.32       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,224.00
                                                                      Check all that apply.
            FAROOQ KHAN
            21 SHELBURNE DRIVE                                        ¨ Contingent
            OAK BROOK, IL 60523                                       ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            6/8/17                                                    VENDOR
            Last 4 digits of account number: A002                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.33       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $714.59
                                                                      Check all that apply.
            FEDEX CUSTOM CRITICAL
            PO BOX 645135                                             ¨ Contingent
            PITTSBURGH, PA 15264-5135                                 ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            1/1/16                                                    VENDOR
            Last 4 digits of account number: FED                      Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




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 3.34       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $700.00
                                                                      Check all that apply.
            FLORIDA ACADEMY OF PHYSICIAN ASSIST INC
            190 ASHLEY LN - ATTN: TERRY GRUCHOW                       ¨ Contingent
            OLDSMAR, FL 34677                                         ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            7/30/18                                                   VENDOR
            Last 4 digits of account number: FAPA                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.35       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $4,266.70
                                                                      Check all that apply.
            FOLEY & LARDNER LLP
            555 SOUTH FLOWER STREET SUITE 3500                        þ Contingent
            LOS ANGELES, CA 90071-2411                                ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY - COUNSEL FOR KAREN HILL
            Last 4 digits of account number: L002                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.36       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $17,409.16
                                                                      Check all that apply.
            FROST BROWN TODD
            P.O. BOX 70087                                            ¨ Contingent
            LOUISVILLE, KY 40270-0087                                 ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            5/23/19                                                   PROFESSIONAL SERVICES
            Last 4 digits of account number: O002                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.37       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $675.00
                                                                      Check all that apply.
            GARY YEN 1099
            13 RISA-BENJAMIN WAY                                      ¨ Contingent
            FREEHOLD, NJ 07728                                        ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            11/19/15                                                  INDEPENDENT CONTRACTORS
            Last 4 digits of account number: N001                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.38       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $5,000.00
                                                                      Check all that apply.
            GMP PUBLICATIONS, INC.
            PO BOX 335                                                ¨ Contingent
            MEDFORD, NJ 08055                                         ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            6/28/15                                                   VENDOR
            Last 4 digits of account number: P001                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




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 3.39       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $4,951.98
                                                                      Check all that apply.
            GOODELL, DEVRIES, LEECH & DANN, LLP
            ONE SOUTH ST 20TH FL                                      þ Contingent
            BALTIMORE, MD 21202                                       ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY - COUNSEL FOR J. LARICHUITA
            Last 4 digits of account number: O002                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.40       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,190.00
                                                                      Check all that apply.
            HAYNSWORTH SINKLER BOYD, P.A.
            ONE NORTH MAIN STREET 2ND FLOOR                           þ Contingent
            P.O. BOX 2048                                             ¨ Unliquidated
            GREENVILLE, SC 29601-2772                                 þ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      INDEMNITY - COUNSEL FOR JOHN KAPOOR
            12/6/18
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: ORTH                     þ No
                                                                      ¨ Yes

 3.41       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                 $14.04
                                                                      Check all that apply.
            HENRY ZALESKI JR., M.D. P.A.
            6550 FANNIN                                               ¨ Contingent
            SUITE 2423                                                ¨ Unliquidated
            HOUSTON, TX 77030                                         ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      VENDOR
            10/17/17
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: L001                     þ No
                                                                      ¨ Yes

 3.42       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                 $54.15
                                                                      Check all that apply.
            HIGH PEAKS WATER SERVS. INC
            P.O. BOX 7150                                             ¨ Contingent
            PHOENIX, AZ 85011-7150                                    ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            5/22/15                                                   VENDOR
            Last 4 digits of account number: HIGH                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.43       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $265,502.61
                                                                      Check all that apply.
            HOGAN LOVELLS US LLP
            PO BOX 75890                                              þ Contingent
            BALTIMORE, MD 21275                                       ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY - COUNSEL FOR DION REIMER
            Last 4 digits of account number: OGAN                     AND MIKE BABICH
                                                                      Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




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 3.44       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,707.00
                                                                      Check all that apply.
            HOWARD BENN
            25 WEASELDRIFT RD.                                        ¨ Contingent
            WOODLAND PARK, NJ 07424                                   ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            1/19/18                                                   VENDOR
            Last 4 digits of account number: BENN                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.45       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $8,107.38
                                                                      Check all that apply.
            HUNTON ANDREWS KURTH LLP
            P.O. BOX 405759                                           þ Contingent
            ATLANTA, GA 30384-5759                                    ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY - COUNSEL FOR MARK HEIN AND
            Last 4 digits of account number: NTON                     DES HOLLANDSWORTH
                                                                      Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.46       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:         $23,341,047.55
                                                                      Check all that apply.
            IC OPERATIONS, LLC
            410 S BENSON LN                                           ¨ Contingent
            CHANDLER, AZ 85224                                        ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INTERCOMPANY PAYABLE TO IC
            Last 4 digits of account number: 0007                     OPERATIONS, LLC
                                                                      Is the claim subject to offset?
                                                                      ¨ No
                                                                      þ Yes

 3.47       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:        $217,065,526.45
                                                                      Check all that apply.
            INSYS DEVELOPMENT COMPANY, INC.
            410 S BENSON LN                                           ¨ Contingent
            CHANDLER, AZ 85224                                        ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INTERCOMPANY PAYABLE TO INSYS
            Last 4 digits of account number: 0003                     DEVELOPMENT CO., INC.
                                                                      Is the claim subject to offset?
                                                                      ¨ No
                                                                      þ Yes

 3.48       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:        $295,283,663.08
                                                                      Check all that apply.
            INSYS MANUFACTURING, LLC
            410 S BENSON LN                                           ¨ Contingent
            CHANDLER, AZ 85224                                        ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INTERCOMPANY A/P - INSYS
            Last 4 digits of account number: 0005                     MANUFACTURING, LLC
                                                                      Is the claim subject to offset?
                                                                      ¨ No
                                                                      þ Yes




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 3.49       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:        $228,049,048.73
                                                                      Check all that apply.
            INSYS MANUFACTURING, LLC
            410 S BENSON LN                                           ¨ Contingent
            CHANDLER, AZ 85224                                        ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INTERCOMPANY PAYABLE TO INSYS
            Last 4 digits of account number: 0005                     MANUFACTURING, LLC
                                                                      Is the claim subject to offset?
                                                                      ¨ No
                                                                      þ Yes

 3.50       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:      $1,423,238,517.73
                                                                      Check all that apply.
            INSYS THERAPEUTICS, INC.
            410 S BENSON LN                                           ¨ Contingent
            CHANDLER, AZ 85224                                        ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INTERCOMPANY PAYABLE TO INSYS
            Last 4 digits of account number: 0001                     THERAPEUTICS, INC.
                                                                      Is the claim subject to offset?
                                                                      ¨ No
                                                                      þ Yes

 3.51       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:          $9,152,602.57
                                                                      Check all that apply.
            INSYS THERAPEUTICS, INC.
            410 S BENSON LN                                           ¨ Contingent
            CHANDLER, AZ 85224                                        ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INTERCOMPANY A/P - INSYS
            Last 4 digits of account number: 0001                     THERAPEUTICS, INC.
                                                                      Is the claim subject to offset?
                                                                      ¨ No
                                                                      þ Yes

 3.52       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:         $53,365,682.51
                                                                      Check all that apply.
            IPSC, LLC
            410 S BENSON LN                                           ¨ Contingent
            CHANDLER, AZ 85224                                        ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INTERCOMPANY PAYABLE TO IPSC, LLC
            Last 4 digits of account number: 0004                     Is the claim subject to offset?
                                                                      ¨ No
                                                                      þ Yes

 3.53       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $33,593.76
                                                                      Check all that apply.
            IQVIA INC
            ATTN ANDREW G LONG, CFO                                   ¨ Contingent
            ONE IMS DR                                                ¨ Unliquidated
            PLYMOUTH MEETING, PA 19462                                ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      VENDOR
            7/8/19
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: S002                     þ No
                                                                      ¨ Yes




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                                                                                                                      Amount of claim

 3.54       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $1,457.57
                                                                      Check all that apply.
            JERI L. ASHLEY 1099
            3239 RUSKIN RD                                            ¨ Contingent
            MEMPHIS, TN 38134                                         ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   VENDOR
            Last 4 digits of account number: H004                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.55       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $780.00
                                                                      Check all that apply.
            JIMMY M HENRY 1099
            7200 TALANTH PLACE                                        ¨ Contingent
            NEW ALBANY, OH 43054                                      ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            11/19/15                                                  INDEPENDENT CONTRACTORS
            Last 4 digits of account number: N003                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.56       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $322.00
                                                                      Check all that apply.
            JMBM LLP
            LOCKBOX FILE 1263                                         þ Contingent
            1801 W OLYMPIC BLVD                                       ¨ Unliquidated
            PASADENA, CA 91199-1263                                   þ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      INDEMNITY RELATED
            4/10/18
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: B001                     þ No
                                                                      ¨ Yes

 3.57       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:          $7,944,828.47
                                                                      Check all that apply.
            JOHN KAPOOR
            C/O WILKINSON WALSH & ESKOVITZ LLP                        þ Contingent
            BETH WILKINSON                                            ¨ Unliquidated
            2001 M STREET, NW, SUITE 1000                             þ Disputed
            WASHINGTON, DC 20036                                      Basis for the claim:
            Date or dates debt was incurred                           INDEMNITY CLAIM FOR PROFESSIONAL
                                                                      SERVICES
            3/1/19
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: P005                     þ No
                                                                      ¨ Yes

 3.58       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $164,716.79
                                                                      Check all that apply.
            KATTEN MUNCHIN ROSENMAN LLP
            SCOTT RESNIK                                              þ Contingent
            575 MADISON AVE                                           ¨ Unliquidated
            NEW YORK, NY 10022                                        þ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      INDEMNITY - COUNSEL FOR JEFF
            VARIOUS                                                   PEARLMAN
            Last 4 digits of account number: T002                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




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                                                                                                                      Amount of claim

 3.59       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:          $2,223,309.09
                                                                      Check all that apply.
            KING & SPALDING
            PO BOX 116133                                             þ Contingent
            ATLANTA, GA 30368                                         ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY - COUNSEL FOR MIKE BABICH
            Last 4 digits of account number: N003                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.60       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $243.32
                                                                      Check all that apply.
            LA WORKFORCE COMMISSION DELINQUENT PAYMENTS
            DELINQUENT PAYMENTS                                       ¨ Contingent
            OFFICE OF UNEMPLOYMENT INSURANCE                          ¨ Unliquidated
            PO BOX 60019                                              ¨ Disputed
            NEW ORLEANS, LA 70160                                     Basis for the claim:
            Date or dates debt was incurred                           VENDOR
            6/24/15                                                   Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: W004                     ¨ Yes

 3.61       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $161.41
                                                                      Check all that apply.
            MAUI JIM USA, INC.
            PO BOX 203861                                             ¨ Contingent
            DALLAS, TX 75320-3861                                     ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            5/19/16                                                   VENDOR
            Last 4 digits of account number: U001                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.62       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $72,727.00
                                                                      Check all that apply.
            MDL 2804 DEFENDANT SPECIAL MASTER FUND
            6811 JEFFERSON HIGHWAY                                    ¨ Contingent
            BATON ROUGE, LA 70806                                     ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            5/31/19                                                   PROFESSIONAL SERVICES
            Last 4 digits of account number: MDL                      Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.63       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $185.00
                                                                      Check all that apply.
            MICROACCOUNTING SOLUTIONS
            801 E CAMPBELL RD                                         ¨ Contingent
            SUITE 330                                                 ¨ Unliquidated
            RICHARDSON, TX 75081                                      ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      VENDOR
            6/26/15
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: C004                     þ No
                                                                      ¨ Yes




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                                                                                                                       Amount of claim

 3.64       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $380,965.56
                                                                       Check all that apply.
            MINER ORKAND SIDDALL LLP
            470 ATLANTIC AVE 4TH FLOOR                                 þ Contingent
            BOSTON, MA 02210                                           ¨ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    INDEMNITY - COUNSEL FOR MIKE GURRY
            Last 4 digits of account number: INER                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.65       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:                $472.50
                                                                       Check all that apply.
            MITESWAR PUREWAL 1099
            200 W HARTRANFT BLVD                                       ¨ Contingent
            NORRISTOWN, PA 19401                                       ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            10/1/16                                                    VENDOR
            Last 4 digits of account number: R001                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.66       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $21,053.80
                                                                       Check all that apply.
            MRC
            10550 RICHMOND AVENUE 310                                  þ Contingent
            HOUSTON, TX 77042                                          ¨ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    INDEMNITY - COUNSEL FOR JOHN KAPOOR
            Last 4 digits of account number: EGAL                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.67       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:      UNDETERMINED
                                                                       Check all that apply.
            MUNICIPALITY OF GUAYANILLA
            ATTN CHIEF EXECUTIVE OFFICER                               þ Contingent
            PO BOX 560550                                              þ Unliquidated
            GUAYANILLA, PR 00656-0560                                  þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       LITIGATION CASE NO. 1:18-OP-45176
            UNDETERMINED
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.68       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:      UNDETERMINED
                                                                       Check all that apply.
            MUNICIPALITY OF LOIZA, PUERTO RICO
            ATTN CHIEF EXECUTIVE OFFICER                               þ Contingent
            PO BOX 508                                                 þ Unliquidated
            LOIZA, PR 00772-0508                                       þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       LITIGATION CASE NO. 1:18-OP-45177
            UNDETERMINED
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                              Page 14 of 21
 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD            Doc 5      Filed 07/30/19           Page19-11296
                                                                                Case number (if known)  37 of(KG)
                                                                                                               63
            (Name)


  Part 2:   Additional Page

                                                                                                                       Amount of claim

 3.69       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:      UNDETERMINED
                                                                       Check all that apply.
            MUNICIPALITY OF SABANA GRANDE
            ATTN CHIEF EXECUTIVE OFFICER                               þ Contingent
            60 ESQ BETANCES                                            þ Unliquidated
            SABANA GRANDE, PR 00637                                    þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       LITIGATION CASE NO. 1:18-OP-45197
            UNDETERMINED
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.70       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $293,622.36
                                                                       Check all that apply.
            NARDELLO & CO. LLC
            DANIEL NARDELLO, CEO                                       þ Contingent
            565 FIFTH AVE.                                             ¨ Unliquidated
            SUITE 200                                                  þ Disputed
            NEW YORK, NY 10017                                         Basis for the claim:
            Date or dates debt was incurred                            INDEMNITY - COUNSEL FOR JOHN KAPOOR
            VARIOUS                                                    Is the claim subject to offset?
                                                                       þ No
            Last 4 digits of account number: ELLO                      ¨ Yes

 3.71       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $699,419.30
                                                                       Check all that apply.
            NIXON PEABODY LLP
            PO BOX 28012                                               þ Contingent
            NEW YORK, NY 10087-8012                                    ¨ Unliquidated
                                                                       þ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    INDEMNITY - COUNSEL FOR JOHN KAPOOR
            Last 4 digits of account number: X002                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.72       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:            $122,147.54
                                                                       Check all that apply.
            PATTERSON BELKNAP WEBB & TYLER LLP
            DANIEL A. LOWENTHAL, PARTNER                               þ Contingent
            1133 AVENUE OF THE AMERICAS                                ¨ Unliquidated
            NEW YORK, NY 10036-6710                                    þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       INDEMNITY - COUNSEL FOR PATRICK
            VARIOUS                                                    FORTEAU
            Last 4 digits of account number: RSON                      Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.73       Nonpriority creditor’s name and mailing address            As of the petition filing date, the claim is:             $22,140.02
                                                                       Check all that apply.
            PAUL, WEISS, RIFKIND, WHATON & GARRISON
            JACOB A. ADLERSTEIN, PARTNER                               þ Contingent
            1285 AVENUE OF THE AMERICAS                                ¨ Unliquidated
            NEW YORK, NY 10019-6064                                    þ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       INDEMNITY - COUNSEL FOR JOHN KAPOOR
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number: U003                      þ No
                                                                       ¨ Yes




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                                                                               Case number (if known)  38 of(KG)
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  Part 2:   Additional Page

                                                                                                                      Amount of claim

 3.74       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $30,557.22
                                                                      Check all that apply.
            PEPPER HAMILTON LLP
            3000 TWO LOGAN SQUARE                                     þ Contingent
            EIGHTEENTH AND ARCH STREETS                               ¨ Unliquidated
            PHILADELPHIA, PA 19103-2799                               þ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      INDEMNITY - COUNSEL FOR NATALIE LEVINE
            VARIOUS
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: P002                     þ No
                                                                      ¨ Yes

 3.75       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $78,910.00
                                                                      Check all that apply.
            POLSINELLI SHUGHART PC
            PO BOX 878681                                             þ Contingent
            KANSAS CITY, MO 64187                                     ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY - COUNSEL FOR JOHN KAPOOR
            Last 4 digits of account number: L001                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.76       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,780.00
                                                                      Check all that apply.
            QUEST DIAGNOSTICS
            PO BOX 740779                                             ¨ Contingent
            CINCINNATI, OH 45274                                      ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            11/1/15                                                   VENDOR
            Last 4 digits of account number: E002                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.77       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $250.00
                                                                      Check all that apply.
            RECHTKORNFELD, P.C.
            1600 STOUT STREET, SUITE 1400                             þ Contingent
            DENVER, CO 80202                                          ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY RELATED
            Last 4 digits of account number: FELD                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.78       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $445.50
                                                                      Check all that apply.
            RICHILANO SHEA LLC
            1800 15TH STREET, SUITE 101                               þ Contingent
            DENVER, CO 80202                                          ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY - COUNSEL FOR CRYSTAL
            Last 4 digits of account number: C006                     GOODIEL
                                                                      Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




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                                                                               Case number (if known)  39 of(KG)
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  Part 2:   Additional Page

                                                                                                                      Amount of claim

 3.79       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $596,655.00
                                                                      Check all that apply.
            ROPES & GRAY LLP
            MAIL CODE: 11104                                          þ Contingent
            P.O. BOX 11839                                            ¨ Unliquidated
            NEWARK, NJ 07101                                          þ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      INDEMNITY - COUNSEL FOR JOHN KAPOOR
            4/18/18
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: OPES                     þ No
                                                                      ¨ Yes

 3.80       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $12,051.87
                                                                      Check all that apply.
            RYAN RAPP & UNDERWOOD PLC
            3200 NORTH CENTRAL AVE                                    þ Contingent
            SUITE 2250                                                ¨ Unliquidated
            PHOENIX, AZ 85012                                         þ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      INDEMNITY RELATED
            VARIOUS
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: A002                     þ No
                                                                      ¨ Yes

 3.81       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $5,292.00
                                                                      Check all that apply.
            SALMON, LEWIS & WELDON, P.L.C
            2850 E. CAMELBACK RD, STE 200                             þ Contingent
            PHOENIX, AZ 85016                                         ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            5/9/19                                                    INDEMNITY - DI DONATO LITIGATION
            Last 4 digits of account number: LMON                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.82       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:            $138,159.04
                                                                      Check all that apply.
            SASM & F LLP
            P.O. BOX 1764                                             ¨ Contingent
            WHITE PLAINS, NY 10602                                    ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            5/23/19                                                   PROFESSIONAL SERVICES
            Last 4 digits of account number: A001                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.83       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $4,956.40
                                                                      Check all that apply.
            SCHNADER HARRISON SEGAL & LEWIS LLP
            1600 MARKET STREET SUITE 3600                             þ Contingent
            PHILADELPHIA, PA 19103                                    ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY - COUNSEL FOR JOHN KAPOOR
            Last 4 digits of account number: ADER                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




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  Part 2:   Additional Page

                                                                                                                      Amount of claim

 3.84       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                 $25.15
                                                                      Check all that apply.
            SCOTT LIGHTFOOT, INC
            6602 E EUGINE TERRACE                                     ¨ Contingent
            SCOTTSDALE, AZ 85254                                      ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            12/30/15                                                  VENDOR
            Last 4 digits of account number: G002                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.85       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,953.00
                                                                      Check all that apply.
            SHARON LYNN WALSH
            1208 BIRMINGHAM LANE                                      ¨ Contingent
            LEXINGTON, KY 40513                                       ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            6/7/16                                                    VENDOR
            Last 4 digits of account number: L007                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.86       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $372.00
                                                                      Check all that apply.
            SHAUN HUSSAIN
            11103 WESTWOOD BLVD                                       ¨ Contingent
            CULVER CITY, CA 90230                                     ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            12/1/17                                                   VENDOR
            Last 4 digits of account number: S003                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.87       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $63,102.49
                                                                      Check all that apply.
            SMITH VILLAZOR LLP
            1700 BROADWAY SUITE 2801                                  þ Contingent
            NEW YORK, NY 10019                                        ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY - COUNSEL FOR SUE BEISLER
            Last 4 digits of account number: I004                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.88       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $8,361.00
                                                                      Check all that apply.
            SNELL & WILMER LLP
            ATTN DONALD WAYNE BIVENS &                                ¨ Contingent
            NICOLE ELIZABETH SORNSIN                                  ¨ Unliquidated
            1 ARIZONA CENTER, 400 E VAN BUREN                         ¨ Disputed
            PHOENIX, AZ 85004-9955                                    Basis for the claim:
            Date or dates debt was incurred                           PROFESSIONAL SERVICES
            VARIOUS                                                   Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: NELL                     ¨ Yes




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  Part 2:   Additional Page

                                                                                                                      Amount of claim

 3.89       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $4,433.84
                                                                      Check all that apply.
            STATE OF MS - DIV OF MEDICAID
            CONDUENT STATE HEALTHCARE, LLC                            ¨ Contingent
            ATTN: KATHERINE THOMAS - UHC                              ¨ Unliquidated
            MCO DR PROG, PO BOX 6014                                  ¨ Disputed
            RIDGELAND, MS 39158-6014                                  Basis for the claim:
            Date or dates debt was incurred                           MANAGED CARE
            6/7/19                                                    Is the claim subject to offset?
                                                                      þ No
            Last 4 digits of account number: A026                     ¨ Yes

 3.90       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $3,000.00
                                                                      Check all that apply.
            STEVEN CHARLES PLAXE 1099
            5843 MEADOWS DEL MAR                                      ¨ Contingent
            SAN DIEGO, CA 92130                                       ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            11/17/15                                                  VENDOR
            Last 4 digits of account number: A001                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.91       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:             $52,800.00
                                                                      Check all that apply.
            STOTLE INC.
            1313 LAUREL ST, SUITE 109                                 ¨ Contingent
            SAN CARLOS, CA 94070                                      ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            2/5/19                                                    VENDOR
            Last 4 digits of account number: O006                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.92       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $7,885.00
                                                                      Check all that apply.
            THE ABEL LAW FIRM PLLC
            50 N. LAURA ST. SUITE 2500                                þ Contingent
            JACKSONVILLE, FL 32202                                    ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY - COUNSEL FOR JOHN KAPOOR
            Last 4 digits of account number: ABEL                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.93       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $261.00
                                                                      Check all that apply.
            THOMPSON HINE LLP
            1919 M STREET, N.W. SUITE 700                             þ Contingent
            WASHINGTON, DC 20036                                      ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            12/6/18                                                   INDEMNITY - COUNSEL FOR ETHAN NAYLOR
            Last 4 digits of account number: HINE                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




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  Part 2:   Additional Page

                                                                                                                      Amount of claim

 3.94       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $2,444.80
                                                                      Check all that apply.
            VENABLE LLP
            PO BOX 62727                                              þ Contingent
            BALTIMORE, MD 21264-2727                                  ¨ Unliquidated
                                                                      þ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   INDEMNITY - COUNSEL FOR PAUL GEISWITE
            Last 4 digits of account number: N004                     AND STEPHANIE ROBERTS
                                                                      Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.95       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:              $4,847.61
                                                                      Check all that apply.
            VIVEK SHANKAR IYER
            5532 E WINDSTONE TRL                                      ¨ Contingent
            CAVE CREEK, AZ 85331                                      ¨ Unliquidated
                                                                      ¨ Disputed
            Date or dates debt was incurred
                                                                      Basis for the claim:
            VARIOUS                                                   VENDOR
            Last 4 digits of account number: E001                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes

 3.96       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $798.25
                                                                      Check all that apply.
            WEST LLC C/O WEST CORPORATION
            LBX 11700                                                 ¨ Contingent
            PO BOX 780700                                             ¨ Unliquidated
            PHILADELPHIA, PA 19178-0700                               ¨ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      VENDOR
            VARIOUS
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: S001                     þ No
                                                                      ¨ Yes

 3.97       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:          $1,001,378.70
                                                                      Check all that apply.
            WHITE & CASE LLP
            MICHAEL KENDALL                                           þ Contingent
            75 STATE STREET                                           ¨ Unliquidated
            BOSTON, MA 02109                                          þ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      INDEMNITY - COUNSEL FOR JOE ROWAN
            VARIOUS
                                                                      Is the claim subject to offset?
            Last 4 digits of account number: I008                     þ No
                                                                      ¨ Yes

 3.98       Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                $416.50
                                                                      Check all that apply.
            WIGGIN AND DANA LLP
            ATTN: ACCOUNTS RECEIVABLE                                 þ Contingent
            PO BOX 1832                                               ¨ Unliquidated
            NEW HAVEN, CT 06508-1832                                  þ Disputed
            Date or dates debt was incurred                           Basis for the claim:
                                                                      INDEMNITY - COUNSEL FOR JEFF
            10/31/18                                                  PEARLMAN
            Last 4 digits of account number: GGIN                     Is the claim subject to offset?
                                                                      þ No
                                                                      ¨ Yes




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    Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


   5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                              Total of claim amounts


   5a. Total claims from Part 1                                                                     5a.              NOT APPLICABLE



   5b. Total claims from Part 2                                                                     5b.   +           $2,264,912,767.55



   5c. Total of Parts 1 and 2                                                                       5c.               $2,264,912,767.55
       Lines 5a + 5b = 5c.




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 21 of 21
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  Fill in this information to identify the case:

 Debtor        Insys Pharma, Inc.


 United States Bankruptcy Court for the: District of Delaware


 Case number          19-11296 (KG)
  (if known)
                                                                                                                                      ¨ Check if this is an
                                                                                                                                         amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                 04/19

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.    Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).

 2.    List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease

 2.1            State what the contract      DECLARATION AND POWER OF                   ADAMS & ADAMS
                or lease is for and the      ATTORNEY                                   4 DAVENTRY ST
                nature of the debtor’s                                                  LYNWOOD MANOR
                interest                                                                PRETORIA 0081
                                                                                        REPUBLIC OF SOUTH AFRICA
                State the term remaining     UNDETERMINED

                List the contract number
                of any government
                contract

 2.2            State what the contract      MASTER SERVICES AGREEMENT                  AJS CONSULTING LLC
                or lease is for and the      (INCLUDING ANY AMENDMENTS AND              ATTN AMY STRATBUCKER
                nature of the debtor’s       ADDENDUMS THERETO)                         1747 FLOWERS MILL DR, NE
                interest                                                                GRAND RAPIDS, MI 49525

                State the term remaining     UNDETERMINED

                List the contract number
                of any government
                contract

 2.3            State what the contract      CONSULTING AGREEMENT (INCLUDING            ANNELLO, PATRICK
                or lease is for and the      ANY AMENDMENTS AND ADDENDUMS               100 PORT WASHINGTON BLVD
                nature of the debtor’s       THERETO)                                   ROSYLN, NY 11576
                interest
                State the term remaining     UNDETERMINED

                List the contract number
                of any government
                contract

 2.4            State what the contract      AUTHORIZED RETAIL PURCHASE                 AVELLA OF DEER VALLEY INC
                or lease is for and the      AGREEMENT (INCLUDING ANY                   D/B/A AVELLA SPECIALITY PHARMACY
                nature of the debtor’s       AMENDMENTS AND ADDENDUMS                   ATTN OFFICE OF GENERAL COUNSEL
                interest                     THERETO)                                   1606 W WHISPERING WIND DR, 2ND FL
                                                                                        PHOENIX, AZ 85085
                State the term remaining     UNDETERMINED

                List the contract number
                of any government
                contract




Official Form 206G                                 Schedule G: Executory Contracts and Unexpired Leases                                          Page 1 of 18
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                                                                              Case number (if known)  45 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.5        State what the contract    AUTHORIZED RETAIL PURCHASE             AVELLA OF DEER VALLEY INC
            or lease is for and the    AGREEMENT (INCLUDING ANY               D/B/A AVELLA SPECIALITY PHARMACY
            nature of the debtor’s     AMENDMENTS AND ADDENDUMS               ATTN OFFICE OF GENERAL COUNSEL
            interest                   THERETO)                               24416 N 19TH AVE
                                                                              PHOENIX, AZ 85085
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.6        State what the contract    CONSULTING AGREEMENT (INCLUDING        BOMMEL, JESSE VAN
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           13760 W CAPITAL DR
            nature of the debtor’s     THERETO)                               BROOKFIELD, WI 53305
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.7        State what the contract    CONSULTING AGREEMENT (INCLUDING        BUCHER, NORA
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           1180 N INDIAN CANYON DR, E218
            nature of the debtor’s     THERETO)                               PALM SPRINGS, CA 92262
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.8        State what the contract    STATEMENT OF WORK DTD 2/25/2016        CAMPBELL ALLIANCE GROUP INC
            or lease is for and the                                           ATTN PATRICK MANHARD, CFO
            nature of the debtor’s                                            8045 ARCO CORPORATE DR, STE 200
            interest                                                          RALEIGH, NC 27617

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.9        State what the contract    CONSULTING AGREEMENT (INCLUDING        CARBONE, RALPH
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           212 W EDISON RD, STE F
            nature of the debtor’s     THERETO)                               MISHAWAKA, IN 46613
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.10       State what the contract    AUTHORIZED RETAIL PURCHASE             CITY DRUGS NY CORP
            or lease is for and the    AGREEMENT                              ATTN ALEX ZEYGERIL, CEO
            nature of the debtor’s                                            1752 1ST AVE
            interest                                                          NEW YORK, NY 10128

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




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 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD          Doc 5      Filed 07/30/19           Page19-11296
                                                                              Case number (if known)  46 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.11       State what the contract    AUTHORIZED RETAIL PURCHASE                CITY DRUGS NY CORP
            or lease is for and the    AGREEMENT                                 C/O KUDMAN TRACHTEN ALOE LLP
            nature of the debtor’s                                               ATTN BARRY A POSNER
            interest                                                             350 FIFTH AVE, 68TH FL
                                                                                 NEW YORK, NY 10118
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.12       State what the contract    LICENSE # L-117-2007/1 - IL13-PE38 DTD    DEPT OF HEALTH & HUMAN SERVICES
            or lease is for and the    10/1/2016                                 C/O FDA TECHNOLOGY TRANSFER PROGRAM
            nature of the debtor’s                                               ATTN ALICE Y WELCH, DIR
            interest                                                             10903 NEW HAMPSHIRE AVE, WO1, RM 4213
                                                                                 SILVER SPRING, MD 20993
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.13       State what the contract    AMENDMENT NUMBER 1 TO                     DESAI DRUGS INC
            or lease is for and the    AUTHORIZED RETAIL PURCHASE                D/B/A GUARDIAN PHARMACY
            nature of the debtor’s     AGREEMENT                                 ATTN BHAVESH DESAI, CEO
            interest                                                             1823 COMMERCE CENTER W
                                                                                 SAN BERNARDINO, CA 92408
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.14       State what the contract    AUTHORIZED RETAIL PURCHASE                DESAI DRUGS INC
            or lease is for and the    AGREEMENT                                 D/B/A GUARDIAN PHARMACY
            nature of the debtor’s                                               ATTN BHAVESH DESAI, CEO
            interest                                                             1823 COMMERCE CENTER W
                                                                                 SAN BERNARDINO, CA 92408
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.15       State what the contract    AUTHORIZED RETAIL PURCHASE                DESAI DRUGS INC
            or lease is for and the    AGREEMENT                                 D/B/A GUARDIAN PHARMACY
            nature of the debtor’s                                               C/O CALIFORNIA PHARMACY LAWYERS; TJ PARK
            interest                                                             2855 MICHELLE, STE 180
                                                                                 IRVINE, CA 92606
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.16       State what the contract    ASSIGNMENT AGREEMENT                      DPT LAKEWOOD LLC
            or lease is for and the                                              ATTN PAUL JOSEPHS, SVP SALES, MARKETING & CORP
            nature of the debtor’s                                               DEVELOPMENT
            interest                                                             1200 PACO WAY
                                                                                 LAKEWOOD, NJ 08701
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




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 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD          Doc 5       Filed 07/30/19           Page19-11296
                                                                               Case number (if known)  47 of(KG)
                                                                                                              63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.17       State what the contract    AUTHORIZED RETAIL PURCHASE              DUNN MEADOW LLC
            or lease is for and the    AGREEMENT                               ATTN CEO
            nature of the debtor’s                                             1555 CENTER AVE, 1ST FL
            interest                                                           FORT LEE, NJ 07024

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.18       State what the contract    AMENDMENT NUMBER 1 TO                   DUNN MEADOW LLC
            or lease is for and the    AUTHORIZED RETAIL PURCHASE              ATTN CRAIG COHEN, VP OPERATIONS
            nature of the debtor’s     AGREEMENT                               1555 CENTER AVE, 1ST FL
            interest                                                           FORT LEE, NJ 07024

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.19       State what the contract    AUTHORIZED RETAIL PURCHASE              EMPIRE SPECIALTY PHARMACY CORP
            or lease is for and the    AGREEMENT (INCLUDING ANY                D/B/A EMPIRE PHARMACY
            nature of the debtor’s     AMENDMENTS AND ADDENDUMS                ATTN EDUARD SHTINDLER, PRESIDENT/CEO
            interest                   THERETO)                                6509 BERGENLINE AVE
                                                                               WEST NEW YORK, NJ 07093
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.20       State what the contract    CONSULTING AGREEMENT (INCLUDING         FETOUH, SHERIN KAMAL
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS            5709 W 131ST ST
            nature of the debtor’s     THERETO)                                OVERLAND PARK, KS 66209
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.21       State what the contract    TRIPLE NET LEASE DTD 1/31/2012          FRYE ROAD TWO LLC
            or lease is for and the                                            C/O KIECKHEFER PROPERTIES LLC
            nature of the debtor’s                                             136 WEST ORION ST, STE D/6
            interest                                                           TEMPE, AZ 85283

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.22       State what the contract    CONSULTING AGREEMENT (INCLUDING         GERBER, GREGORY
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS            2819 HAYES AVE, STE 4
            nature of the debtor’s     THERETO)                                SANDDUSKY, OH 44870
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




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 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD          Doc 5      Filed 07/30/19           Page19-11296
                                                                              Case number (if known)  48 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.23       State what the contract    CONSULTING AGREEMENT (INCLUDING        GHAZAL, HASSAN, MD
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           200 MEDICAL CENTER DR, STE 3-0
            nature of the debtor’s     THERETO)                               HAZARD, KY 41701
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.24       State what the contract    SPEAKER AGREEMENT                      GROTH, RYAN, PA
            or lease is for and the                                           70 BENT CREEK PRESERVE RD
            nature of the debtor’s                                            ASHVILLE, NC 28806
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.25       State what the contract    LEASE TERMINATION AGREEMENT &          HANGERS WINTERS VENTURES
            or lease is for and the    MUTUAL RELEASE DTD 7/15/2014           1568 N WAKONDA ST
            nature of the debtor’s                                            FLAGSTAFF, AZ 86004
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.26       State what the contract    SERVICES AGREEMENT 1/23/2017           HELLO ARIZONA DESTINATION MGT INC
            or lease is for and the    (INCLUDING ANY AMENDMENTS AND          ATTN BRIANNA MOODY, SR ACCT EXEC
            nature of the debtor’s     ADDENDUMS THERETO)                     9237 E VIA DE VENTURA, STE 105
            interest                                                          SCOTTSDALE, AZ 85258

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.27       State what the contract    CLIENT PROGRAM SUMMARY                 HELLO ARIZONA DESTINATION MNGMT INC
            or lease is for and the    AGREEMENT DTD 1/18/2016                ATTN BRIANNA MOODY, SR ACCT EXECUTIVE
            nature of the debtor’s                                            9237 E VIA DE VENTURA, STE 105
            interest                                                          SCOTTSDALE, AZ 85258

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.28       State what the contract    ASSIGNMENT AGREEMENT                   INC RESEARCH TORONTO INC
            or lease is for and the                                           ATTN CATHY VAN DER GIESSEN, SR ADMIN FIN
            nature of the debtor’s                                            720 KING ST W, 7TH FL
            interest                                                          TORONTO, ON
                                                                              CANADA
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




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 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD          Doc 5      Filed 07/30/19           Page19-11296
                                                                              Case number (if known)  49 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.29       State what the contract    SUPPLY & DISTRIBUTION AGREEMENT        INSYS MANUFACTURING, LLC
            or lease is for and the                                           ATTN DARRYL S BAKER, CFO
            nature of the debtor’s                                            1333 S SPECTRUM BLVD, STE 100
            interest                                                          CHANDLER, AZ 85286

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.30       State what the contract    AGREEMENT FOR SECURITY SERVICES ISPA SECURITY SERVICES LLC
            or lease is for and the                                    2700 N CENTRAL AVE, STE 370
            nature of the debtor’s                                     PHOENIX, AZ 85004
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.31       State what the contract    CONSULTING AGREEMENT (INCLUDING        JAHANGIR, KHAWAJA
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           4200 HOUMA BLVD
            nature of the debtor’s     THERETO)                               METAIRIE, LA 70006
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.32       State what the contract    MASTER SERVICES AGREEMENT              JUICE PHARMA WORLDWIDE LLC
            or lease is for and the                                           ATTN LYNN MACRONE
            nature of the debtor’s                                            322 8TH AVE, 10TH FL
            interest                                                          NEW YORK, NY 10001

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.33       State what the contract    MASTER SERVICES AGREEMENT              JUICE PHARMA WORLDWIDE LLC
            or lease is for and the                                           PLATZER SWERGOLD LEVINE
            nature of the debtor’s                                            ATTN STAN L GOLDBERG, ESQ
            interest                                                          475 PARK AVE S, 18TH FL
                                                                              NEW YORK, NY 10016
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.34       State what the contract    GENERAL POWER OF ATTORNEY              JUNGJIN INTELLECTUAL PROPERTY LAW FIRM
            or lease is for and the                                           ATTN KIM SOON WOONG
            nature of the debtor’s                                            SEOUL
            interest                                                          REPUBLIC OF KOREA

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




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                                                                              Case number (if known)  50 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.35       State what the contract    CONSULTING AGREEMENT (INCLUDING        KASENDORF, ROGER
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           8807 CAMINITO SUENO
            nature of the debtor’s     THERETO)                               LA JOLLA, CA 92037
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.36       State what the contract    CONSULTING AGREEMENT (INCLUDING        KAZI, AMER
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           53830 GENERATIONS DR, STE 110
            nature of the debtor’s     THERETO)                               SOUTH BEND, IN 46635
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.37       State what the contract    CONSULTING AGREEMENT (INCLUDING        KLICKOVICH, ROBERT
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           1895 RICHWOOD RD
            nature of the debtor’s     THERETO)                               WALTON, KY 41094
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.38       State what the contract    CONSULTING AGREEMENT (INCLUDING        KNAPP, MARK
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           3100 PLAZA PROPERTIES BLVD
            nature of the debtor’s     THERETO)                               COLUMBUS, OH 43219
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.39       State what the contract    AMENDMENT TO SPEAKER                   KRIVITSKY, BORIS, DO
            or lease is for and the    AGREEMENT DTD 7/31/18                  10620 PARK RD, STE 208
            nature of the debtor’s                                            CHARLOTTE, NC 28210
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.40       State what the contract    AGREEMENT TO ENGAGE TALENT             LEADING AUTHORITIES INC
            or lease is for and the                                           ATTN JONATHAN LANE, PROGRAM CONSULTANT
            nature of the debtor’s                                            1990 M STREET NW, STE 800
            interest                                                          WASHINGTON, DC 20036

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




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                                                                              Case number (if known)  51 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.41       State what the contract    AMENDMENT TO SPEAKER                   LEVENSON, JEFFREY, MD
            or lease is for and the    AGREEMENT                              ADVANCED BAY AREA MEDICAL ASSOCIATES
            nature of the debtor’s                                            1700 66TH ST N, STE 510
            interest                                                          ST PETERSBURG, FL 33710

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.42       State what the contract    CONSULTING AGREEMENT (INCLUDING        LIEPMAN, MARCIA
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           555 LINN ST
            nature of the debtor’s     THERETO)                               ALLEGAN, MI 49011
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.43       State what the contract    AUTHORIZED RETAIL PURCHASE             LINDEN CARE LLC
            or lease is for and the    AGREEMENT                              ATTN GLENN BORTNICK, EVP
            nature of the debtor’s                                            13O CROSSWAYS PARK DR, STE 101
            interest                                                          WOODBURY, NY 11797

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.44       State what the contract    AMENDMENT NUMBER 1 TO                  LINDEN CARE LLC
            or lease is for and the    AUTHORIZED RETAIL PURCHASE             ATTN SCOTT D KANTOR, CFO
            nature of the debtor’s     AGREEMENT                              130 CROSSWAYS PARK
            interest                                                          DRIVE SUITE 101
                                                                              WOODBURY, NY 11797
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.45       State what the contract    AUTHORIZED RETAIL PURCHASE             LINDEN CARE LLC
            or lease is for and the    AGREEMENT                              C/O KUDMAN TRACHTEN ALOE LLP
            nature of the debtor’s                                            ATTN BARRY POSNER
            interest                                                          350 FIFTH AVE, 68TH FL
                                                                              NEW YORK, NY 10118
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.46       State what the contract    ASSIGNMENT AGREEMENT                   LOTUS CLINICAL RESEARCH LLC
            or lease is for and the                                           ATTN NEIL SINGLA, OWNER, MANAGING MEMBER
            nature of the debtor’s                                            100 W CALIFORNIA BLVD, UNIT 25
            interest                                                          PASADENA, CA 91105

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




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 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD          Doc 5      Filed 07/30/19           Page19-11296
                                                                              Case number (if known)  52 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.47       State what the contract    SPEAKER AGREEMENT                      LUBIN, EDWARD, MD, PHD
            or lease is for and the                                           101 AVE D NW
            nature of the debtor’s                                            WINTER HAVEN, FL 33881
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.48       State what the contract    AUTHORIZED RETAIL PURCHASE             LYONS PHARMACY AND COMPOUNDING LAB
            or lease is for and the    AGREEMENT                              ATTN PETE FARZADFAR, PRESIDENT
            nature of the debtor’s                                            23206 LYONS AVE, STE 112
            interest                                                          SANTA CLARITA, CA 91321

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.49       State what the contract    CONSULTING AGREEMENT (INCLUDING        MAHMOOD, IJAZ
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           1239 WOODLAND DR, STE 105
            nature of the debtor’s     THERETO)                               ELIZABETHTOWN, KY 42701
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.50       State what the contract    SPEAKER AGREEMENT                      MALLARI, CLINTON, MD
            or lease is for and the                                           115 W MAIN ST, STE 102
            nature of the debtor’s                                            BOISE, ID 83702
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.51       State what the contract    CONSULTING AGREEMENT (INCLUDING        MILES, JOHN
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           1540 APPLING CARE LANE, STE 105
            nature of the debtor’s     THERETO)                               CORDOVA, TN 38016
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.52       State what the contract    CONSULTING AGREEMENT (INCLUDING        MOHD, NEHAL
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           1145B E GANNON DR
            nature of the debtor’s     THERETO)                               FESTUS, MO 63028
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




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 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD          Doc 5      Filed 07/30/19           Page19-11296
                                                                              Case number (if known)  53 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.53       State what the contract    AUTHORIZED RETAIL PURCHASE             MULLANEY MEDICAL INC
            or lease is for and the    AGREEMENT                              D/B/A MULLANEY'S PHARMACY
            nature of the debtor’s                                            ATTN THOMAS MULLANEY, PRESIDENT
            interest                                                          6096 MONTGOMERY RD
                                                                              PLEASANT RIDGE, OH 45213
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.54       State what the contract    REPRODUCTION PERMISSION                NATIONAL COMPREHENSIVE CANCER NETWORK
            or lease is for and the    AGREEMENT                              ATTN C LYN FITZGERALD, VP US & GBL DEV
            nature of the debtor’s                                            275 COMMERCE DR, STE 300
            interest                                                          FORT WASHINGTON, PA 19034

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.55       State what the contract    AMENDMENT NUMBER 1 TO                  NORTH CAROLINA MUTUAL
            or lease is for and the    AUTHORIZED DISTRIBUTOR                 WHOLESALE DRUG COMPANY, THE
            nature of the debtor’s     AGREEMENT                              816 ELLIS ROAD
            interest                                                          PO BOX 411
                                                                              DURHAM, NC 27703
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.56       State what the contract    ASSIGNMENT AGREEMENT                   NORTH CAROLINA MUTUAL
            or lease is for and the                                           WHOLESALE DRUG COMPANY, THE
            nature of the debtor’s                                            ATTN HAL HARRISON
            interest                                                          816 ELLIS RD
                                                                              DURHAM, NC 27703
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.57       State what the contract    MASTER SERVICES AGREEMENT              NORTH HIGHLAND CO, THE
            or lease is for and the                                           3333 PIEDMONT RD NE, STE 1000
            nature of the debtor’s                                            ATLANTA, GA 30305
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.58       State what the contract    MASTER SERVICES AGREEMENT              NOSCO INC
            or lease is for and the    (INCLUDING ANY AMENDMENTS AND          ATTN RUSSEL S HARAF, PRESIDENT
            nature of the debtor’s     ADDENDUMS THERETO)                     2199 DELANY RD
            interest                                                          GURNEE, IL 60031

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




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                                                                              Case number (if known)  54 of(KG)
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            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.59       State what the contract    MASTER SERVICES AGREEMENT              NOSCO INC
            or lease is for and the    (INCLUDING ANY AMENDMENTS AND          ATTN RUSSELL S HARAF
            nature of the debtor’s     ADDENDUMS THERETO)                     2199 DELANY RD
            interest                                                          GURNEE, IL 60031

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.60       State what the contract    MASTER SERVICES AGREEMENT              NOSCO INC
            or lease is for and the    (INCLUDING ANY AMENDMENTS AND          ATTN RUSSELL S HARAF
            nature of the debtor’s     ADDENDUMS THERETO)                     2199 DELANY RD
            interest                                                          GURNEE, IL 60031

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.61       State what the contract    MASTER SERVICES AGREEMENT              NOSCO INC
            or lease is for and the    (INCLUDING ANY AMENDMENTS AND          ATTN RUSSELL S HARAF, PRESIDENT
            nature of the debtor’s     ADDENDUMS THERETO)                     2199 DELANY RD
            interest                                                          GURNEE, IL 60031

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.62       State what the contract    MASTER SERVICES AGREEMENT              NOSCO INC
            or lease is for and the    (INCLUDING ANY AMENDMENTS AND          C/O HOLDEN INDUSTRIES
            nature of the debtor’s     ADDENDUMS THERETO)                     ATTN ARTHUR MILLER, EXECUTIVE VP
            interest                                                          500 LAKE COOK RD, STE 400
                                                                              DEERFIELD, AL 60015-5269
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.63       State what the contract    MASTER SERVICES AGREEMENT              NOSCO INC
            or lease is for and the    (INCLUDING ANY AMENDMENTS AND          C/O HOLDEN INDUSTRIES
            nature of the debtor’s     ADDENDUMS THERETO)                     ATTN ARTHUR MILLER, EXECUTIVE VP
            interest                                                          500 LAKE COOK RD, STE 400
                                                                              DEERFIELD, IL 60015-5269
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.64       State what the contract    MASTER SERVICES AGREEMENT              NOSCO INC
            or lease is for and the    (INCLUDING ANY AMENDMENTS AND          C/O HOLDEN INDUSTRIES
            nature of the debtor’s     ADDENDUMS THERETO)                     ATTN ARTHUR MILLER, EXECUTIVE VP
            interest                                                          500 LAKE COOK RD, STE 400
                                                                              DEERFIELD, IL 60015-5269
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




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                                                                              Case number (if known)  55 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.65       State what the contract    MASTER SERVICES AGREEMENT              NOSCO INC
            or lease is for and the    (INCLUDING ANY AMENDMENTS AND          C/O HOLDEN INDUSTRIES
            nature of the debtor’s     ADDENDUMS THERETO)                     ATTN ARTHUR MILLER, EXECUTIVE VP
            interest                                                          500 LAKE COOK ROAD, STE 400
                                                                              DEERFIELD, IL 60015-5269
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.66       State what the contract    ONS CONGRESS 2015 ANCILLARY            ONS EDGE INC
            or lease is for and the    LUNCHEON DTD 10/22/2014                ATTN STEVE SHANGOLD, EXEC DIR
            nature of the debtor’s                                            125 ENTERPRISE DR
            interest                                                          PITTSBURGH, PA 15275

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.67       State what the contract    CONSULTING AGREEMENT (INCLUDING        PATEL, MAYUR
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           15750 NORTHLINE RD
            nature of the debtor’s     THERETO)                               SOUTHGATE, MI 48195
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.68       State what the contract    CONSULTING AGREEMENT (INCLUDING        PAWL, LAWRENCE
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           233 FULTON EAST NE, STE 226
            nature of the debtor’s     THERETO)                               GRAND RAPIDS, MI 49503
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.69       State what the contract    CONSULTING AGREEMENT (INCLUDING        PETERS, LAWRENCE
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           4402 CHURCHMAN AVE, STE 404
            nature of the debtor’s     THERETO)                               LOUISVILLE, KY 40215
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.70       State what the contract    ASSIGNMENT AGREEMENT (INCLUDING PHARMACEUTICAL RESEARCH ASSOCIATES INC
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS    ATTN JOHN WILLIFORD, LEGAL COUNSEL
            nature of the debtor’s     THERETO)                        4130 PARKLAKE AVE, STE 400
            interest                                                   RALEIGH, NC 27612

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                               Page 12 of 18
 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD          Doc 5      Filed 07/30/19           Page19-11296
                                                                              Case number (if known)  56 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.71       State what the contract    STATEMENT OF WORK DTD 2/2/2016         PLAN 365 INC
            or lease is for and the                                           ATTN CAREY BARNES, PRESIDENT
            nature of the debtor’s                                            3201 GLENWOOD AVE, STE 300
            interest                                                          RALEIGH, NC 27612

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.72       State what the contract    AUTHORIZED CONSIGNMENT AND             PRAXIS SPECIALTY PHARMACY LLC
            or lease is for and the    DISPENSING AGREEMENT                   5455 WEST WATERS AVE, STE 214
            nature of the debtor’s                                            TAMPA, FL 33634
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.73       State what the contract    AUTHORIZED CONSIGNMENT AND             PRAXIS SPECIALTY PHARMACY LLC
            or lease is for and the    DISPENSING AGREEMENT                   ATTN LEGAL
            nature of the debtor’s                                            1144 LAKE ST, STE 401
            interest                                                          OAK PARK, IL 60301

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.74       State what the contract    STATEMENT OF WORK OPP# 1206492         QUINTILES IMS INC
            or lease is for and the                                           ATTN FRANK PAPAIANNI, VP MID SIZE SALES
            nature of the debtor’s                                            ONE IMS DRIVE
            interest                                                          PLYMOUTH MEETING, PA 19462

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.75       State what the contract    STATEMENT OF WORK OPP# 1206496         QUINTILES IMS INC
            or lease is for and the                                           ATTN FRANK PAPAIANNI, VP MID SIZE SALES
            nature of the debtor’s                                            ONE IMS DRIVE
            interest                                                          PLYMOUTH MEETING, PA 19462

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.76       State what the contract    ASSIGNMENT AGREEMENT                   QUINTILES INC
            or lease is for and the                                           ATTN LAURA SWEET, SR DIR
            nature of the debtor’s                                            4820 EMPEROR BLVD
            interest                                                          DURHAM, NC 27703

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                               Page 13 of 18
 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD          Doc 5      Filed 07/30/19           Page19-11296
                                                                              Case number (if known)  57 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.77       State what the contract    CONSULTING AGREEMENT (INCLUDING        RAFIQUE, SYED
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           333 HIGHWAY 82 WEST
            nature of the debtor’s     THERETO)                               GREENWOOD, MS 38930
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.78       State what the contract    CONTRACT FOR INSYS PHARME              SEASONS 52
            or lease is for and the                                           4508 CHERRY HILL
            nature of the debtor’s                                            2000 ROUTE 38, STE 1145
            interest                                                          CHERRY HILL, NJ 08002

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.79       State what the contract    CONSULTING AGREEMENT (INCLUDING        SETH, NIKESH
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           11263 E APPALOOSA PL
            nature of the debtor’s     THERETO)                               SCOTTSDALE, AZ 85259
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.80       State what the contract    AUTHORIZED RETAIL PURCHASE             SHAFFER PHARMACY
            or lease is for and the    AGREEMENT                              3900 SUN FOREST CT
            nature of the debtor’s                                            TOLEDO, OH 43623
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.81       State what the contract    CONSULTING AGREEMENT (INCLUDING        SHURMAN, JOSEPH, MD
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           9834 GENESEE AVE, STE 427
            nature of the debtor’s     THERETO)                               LA JOLLA, CA 92037
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.82       State what the contract    AUTHORIZED RETAIL PURCHASE             SIMFAROSE PHARMACEUTICAL SPECIALTY INC
            or lease is for and the    AGREEMENT                              10016 PINES BLVD
            nature of the debtor’s                                            PEMBROKE PINES, FL 33024
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                               Page 14 of 18
 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD          Doc 5      Filed 07/30/19           Page19-11296
                                                                              Case number (if known)  58 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.83       State what the contract    MASTER SERVICES AGREEMENT              SKYSIS LLC
            or lease is for and the    (INCLUDING ANY AMENDMENTS AND          ATTN DAN TWIBELL, MANAGING DIRECTOR
            nature of the debtor’s     ADDENDUMS THERETO)                     11445 E VIA LINDA, STE 2621
            interest                                                          SCOTTSDALE, AZ 85259

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.84       State what the contract    MASTER SERVICES AGREEMENT              SKYSIS LLC
            or lease is for and the    (INCLUDING ANY AMENDMENTS AND          ATTN DAN TWIBELL, MANAGING DIRECTOR
            nature of the debtor’s     ADDENDUMS THERETO)                     11445 E VIA LINDA, STE 2621
            interest                                                          SCOTTSDALE, AZ 85259

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.85       State what the contract    CONSULTING AGREEMENT (INCLUDING        SMITH, SCOTT
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           2817 WOOTEN BLVD
            nature of the debtor’s     THERETO)                               WILSON, NC 27893
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.86       State what the contract    CONSULTING AGREEMENT (INCLUDING        SONG, WEI
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           1600 E HIGH ST
            nature of the debtor’s     THERETO)                               CANCER CENTER
            interest                                                          POTTSTOWN, PA 19464

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.87       State what the contract    ASSIGNMENT AGREEMENT                   SOURCE HEALTHCARE ANALYTICS LLC
            or lease is for and the                                           1001 E HECTOR ST
            nature of the debtor’s                                            CONSHOHOCKEN, PA 19428
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.88       State what the contract    STATEMENT OF WORK #11                  SOURCE HEALTHCARE ANALYTICS LLC
            or lease is for and the                                           ATTN KEVIN ZEIGLER, VP SALES
            nature of the debtor’s                                            2390 E CAMELBACK RD
            interest                                                          PHOENIX, AZ 85016

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                               Page 15 of 18
 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD          Doc 5      Filed 07/30/19           Page19-11296
                                                                              Case number (if known)  59 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.89       State what the contract    STATEMENT OF WORK #12                  SOURCE HEALTHCARE ANALYTICS LLC
            or lease is for and the                                           ATTN KEVIN ZEIGLER, VP SALES
            nature of the debtor’s                                            2390 E CAMELBACK RD
            interest                                                          PHOENIX, AZ 85016

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.90       State what the contract    STATEMENT OF WORK #13                  SOURCE HEALTHCARE ANALYTICS LLC
            or lease is for and the                                           ATTN KEVIN ZEIGLER, VP SALES
            nature of the debtor’s                                            2390 E CAMELBACK RD
            interest                                                          PHOENIX, AZ 85016

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.91       State what the contract    USER CUSTOMER AGREEMENT FOR            SOURCE HEALTHCARE ANALYTICS LLC
            or lease is for and the    AMA PHYSICIAN PROFESSIONAL DATA        ATTN KEVIN ZEIGLER, VP SALES
            nature of the debtor’s                                            2390 E CAMELBACK RD
            interest                                                          PHOENIX, AZ 85016

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.92       State what the contract    CONFIDENTIALITY AGREEMENT              ST LUKE'S REGIONAL MEDICAL CENTER LTD
            or lease is for and the                                           ATTN W MARK ROBERTS, ADMIN CLINICAL RESEARCH
            nature of the debtor’s                                            190 EAST BANNOCK ST
            interest                                                          BOISE, ID 83712

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.93       State what the contract    AUTHORIZED RETAIL PURCHASE             TEL-DRUG INC AND TEL-DRUG OF PA
            or lease is for and the    AGREEMENT                              C/O CIGNA HEALTHCARE
            nature of the debtor’s                                            ATTN ALEX KRIKORIAN
            interest                                                          900 COTTAGE GROVE RD, B5PHR
                                                                              BLOOMFIELD, CT 06002
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.94       State what the contract    AUTHORIZED RETAIL PURCHASE             TEL-DRUG INC AND TEL-DRUG OF PA
            or lease is for and the    AGREEMENT                              C/O CIGNA HEALTHCARE
            nature of the debtor’s                                            ATTN JANE FISHBEIN
            interest                                                          900 COTTAGE GROVE RD, B5PHR
                                                                              BLOOMFIELD, CT 06002
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                               Page 16 of 18
 Debtor     Insys Pharma, Inc.   Case 19-11296-JTD          Doc 5      Filed 07/30/19           Page19-11296
                                                                              Case number (if known)  60 of(KG)
                                                                                                             63
            (Name)


        List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease

 2.95       State what the contract    CONSULTING AGREEMENT (INCLUDING        TENNANT, FOREST
            or lease is for and the    ANY AMENDMENTS AND ADDENDUMS           338 S GLENDORA AVE
            nature of the debtor’s     THERETO)                               WEST COVINA, CA 91790
            interest
            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.96       State what the contract    ASSIGNMENT AGREEMENT                   VALUE DRUG CO
            or lease is for and the                                           ATTN MICHEAL AIKEN, CATEGORY MGR
            nature of the debtor’s                                            195 THEATER DR
            interest                                                          DUNCANSVILLE, PA 16635

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.97       State what the contract    RE: INSYS THERAPEUTICS ONCOLOGY        W CHICAGO CITY CENTER
            or lease is for and the    ADVISORY BOARD                         ATTN STEPHANIE WEISMAN
            nature of the debtor’s                                            172 W ADAMS ST
            interest                                                          CHICAGO, IL 60603

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.98       State what the contract    RE: INSYS THERAPEUTICS PAIN            W CHICAGO CITY CENTER
            or lease is for and the    ADVISORY BOARD                         ATTN STEPHANIE WEISMAN
            nature of the debtor’s                                            172 W ADAMS ST
            interest                                                          CHICAGO, IL 60603

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.99       State what the contract    RE: INSYS THERAPEUTICS ONCOLOGY        W CHICAGO CITY CENTER
            or lease is for and the    ADVISORY BOARD                         C/O HELMSBRISCOE CINCINNATI
            nature of the debtor’s                                            ATTN MELISSA ATKINS, SR DIRECTOR
            interest                                                          LEXINGTON, KY 40502

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract

 2.100      State what the contract    RE: INSYS THERAPEUTICS PAIN            W CHICAGO CITY CENTER
            or lease is for and the    ADVISORY BOARD                         C/O HELMSBRISCOE CINCINNATI
            nature of the debtor’s                                            ATTN MELISSA ATKINS, SR DIRECTOR
            interest                                                          LEXINGTON, KY 40502

            State the term remaining   UNDETERMINED

            List the contract number
            of any government
            contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                               Page 17 of 18
 Debtor    Insys Pharma, Inc.   Case 19-11296-JTD         Doc 5      Filed 07/30/19           Page19-11296
                                                                            Case number (if known)  61 of(KG)
                                                                                                           63
           (Name)


      List all contracts and unexpired leases                              State the name and mailing address for all other parties with
                                                                           whom the debtor has an executory contract or unexpired lease

 2.101     State what the contract    ASSIGNMENT AGREEMENT                  WEBBWRITES LLC
           or lease is for and the                                          ATTN LAURA WEBB-MURRAH, PRESIDENT
           nature of the debtor’s                                           1904 FRONT ST, BLDG 600
           interest                                                         DURHAM, NC 27705

           State the term remaining   UNDETERMINED

           List the contract number
           of any government
           contract

 2.102     State what the contract    CONSULTING AGREEMENT (INCLUDING       WILSON, JAMES
           or lease is for and the    ANY AMENDMENTS AND ADDENDUMS          101 E 75TH ST, STE 101
           nature of the debtor’s     THERETO)                              NAPERVILLE, IL 60656
           interest
           State the term remaining   UNDETERMINED

           List the contract number
           of any government
           contract

 2.103     State what the contract    CONSULTING AGREEMENT (INCLUDING       WONG, STEVEN
           or lease is for and the    ANY AMENDMENTS AND ADDENDUMS          10921 WILSHIRE BLVD, STE 505
           nature of the debtor’s     THERETO)                              LOS ANGELES, CA 90024
           interest
           State the term remaining   UNDETERMINED

           List the contract number
           of any government
           contract

 2.104     State what the contract    MASTER SERVICES AGREEMENT             ZS ASSOCIATES INC
           or lease is for and the    (INCLUDING ANY AMENDMENTS AND         ATTN JIM ADELIZZI
           nature of the debtor’s     ADDENDUMS THERETO)                    4365 EXECUTIVE DR, STE 1530
           interest                                                         SAN DIEGO, CA 92121

           State the term remaining   UNDETERMINED

           List the contract number
           of any government
           contract

 2.105     State what the contract    FIRST AMENDMENT TO MASTER             ZS ASSOCIATES INC
           or lease is for and the    SERVICE AGREEMENT DTD 8/30/2017       ATTN SR LEGAL COUNSEL
           nature of the debtor’s                                           ONE ROTARY CENTER
           interest                                                         1560 SHERMAN AVE, STE 800
                                                                            EVANSTON, IL 60201
           State the term remaining   UNDETERMINED

           List the contract number
           of any government
           contract

 2.106     State what the contract    MASTER SERVICES AGREEMENT             ZS ASSOCIATES INC
           or lease is for and the    (INCLUDING ANY AMENDMENTS AND         ATTN SR LEGAL COUNSEL
           nature of the debtor’s     ADDENDUMS THERETO)                    ONE ROTARY CENTER
           interest                                                         1560 SHERMAN AVE, STE 800
                                                                            EVANSTON, IL 60201
           State the term remaining   UNDETERMINED

           List the contract number
           of any government
           contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                               Page 18 of 18
                                      Case 19-11296-JTD          Doc 5        Filed 07/30/19           Page 62 of 63
  Fill in this information to identify the case:

 Debtor        Insys Pharma, Inc.


 United States Bankruptcy Court for the: District of Delaware


 Case number          19-11296 (KG)
  (if known)
                                                                                                                                 ¨ Check if this is an
                                                                                                                                     amended filing

 Official Form 206H
 Schedule H: Codebtors                                                                                                                             4/19

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.    Does the debtor have any codebtors?
       þ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       ¨ Yes.




Official Form 206H                                              Schedule H: Codebtors                                                         Page 1 of 1
                                Casethe19-11296-JTD
  Fill in this information to identify  case:                            Doc 5          Filed 07/30/19               Page 63 of 63
 Debtor        Insys Pharma, Inc.


 United States Bankruptcy Court for the: District of Delaware


 Case number          19-11296 (KG)
  (if known)




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    04/19
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.

                Delcaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          þ Schedule H: Codebtors (Official Form 206H)

          þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          ¨ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on 7/29/2019
                            MM / DD / YYYY
                                                                û   /s/ Andrew G. Long
                                                                    Signature of individual signing on behalf of debtor


                                                                    Andrew G. Long
                                                                    Printed name


                                                                    CEO
                                                                    Position or relationship to debtor




Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
